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       Exhibit 11 to
Declaration of Mark C. Mao
 ISO Plaintiffs’ Unopposed
Motion for Final Approval of
  Class Action Settlement
                   Case 4:20-cv-03664-YGR Document 1097-14 Filed 04/01/24 Page 2 of 97

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17                                       SUPERIOR COURT OF CALIFORNIA
                                            COUNTY OF SANTA CLARA
18

19
              Gilbert Luna,                            Case No. CaseNumber        24CV434093
20            Isabella Massie,
              Nico Westbrook,                          COMPLAINT FOR DAMAGES
21            Scott Daniels,
              Steve Sonza,                             (1) VIOLATION 0F CALIFORNIA'S
22            Eugene Jackson,                          INVASION OF PRIVACY ACT ("CIPA"),
              Luke Russell,                            CAL. PENAL CODE §§ 631 & 632;
23            Conor Gleeson,                           (2) VIOLATION OF THE
              Andrew Monheim,                          COMPREHENSIVE COMPUTER DATA
24            Nicholas Dill,                           ACCEss AND FRAUD ACT ("CDAFA"),
              Joseph Shofet,                           CAL. PENAL CODE §§ 502 ET SEQ.;
25            J errell Jordon,                         (3) INVASION OF PRIVACY;
              Joseph Brukner,                          (4) INTRUSION UPON SECLUSION;
26            David Kawasales,                         (5) BREACH OF CONTRACT; AND
              David Smalt,                             (6) VIOLATION OF CA UCL, CAL. BUS. &
27            Alexander Ely,                           PROF. CODE §§ 17200, ET. SEQ.
              Ellen Dalen,                             (7) UNJUST ENRICHMENT
28            Ken Cornelius,




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 1    Steven Botosh,                         DEMAND FOR JURY TRIAL
      Nichole Adams,
 2    Johnathan Ornelas,
      Brittany Powell,
 3    Alain Mansoni,
      Miranda Pierotti,
 4    Kamari Quinones,
      George Degraw,
 5    Michael Nagle,
      Julien Salgado,
 6    Oliver Helms,
      Nolan Dugger,
 7    Omar Masri,
      Ronald Corona,
 8    Andrew Cardamone,
      Keith Anderson,
 9    Eijae Zanders,
      Helena Apothaker,
10    Timothy Elliott,
      Deana Steinberg,
11    Justin Nunez,
      Anastasia Basche,
12    Andrea Cardona,
      Alvaro Herrera,
13    Alberto Cuellar,
      Abraham Valdez,
14    Alfredo Rodriguez,
      Amir Chrayah,
15    Anthony Byrd,
      Alan Starzinski,
16    Andrew Bith,
      and Adeola Obasa,
17
                           Plaintiffs,
18
         v.
19
      GOOGLE LLC,
20
                           Defendant.
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 1                                            COMPLAINT

 2          Plaintiffs file this Complaint against defendant Google LLC (“Google” or “Defendant”),

 3   and in support state the following.

 4                                          INTRODUCTION

 5          1.      This lawsuit concerns Google’s surreptitious interception and unlawful collection of

 6   Plaintiffs’ personal and sensitive data while Plaintiffs were in “Incognito” mode in Google’s

 7   Chrome browser, which was supposed to permit them to browse privately.

 8          2.      Google has represented to Google account holders, including Plaintiffs, that they are

 9   “in control of what information [they] share with Google,” meaning that they have the power to

10   limit what data Google tracks, collects, and shares with third parties. Google has represented that

11   one way for users to exercise this “control” is by setting their web-browsing software (used to

12   connect to websites) to “private browsing mode”—including Incognito mode in Google’s Chrome

13   browser (“Incognito”), which Google launched in 2008.

14          3.      Based on Google’s representations, Plaintiffs reasonably believed that their data

15   would not be collected, stored, or used by Google and that Google would not intercept their

16   communications when they were in “private browsing mode.” This included Plaintiffs’ Incognito

17   mode visits to non-Google websites without being signed into any Google account.

18          4.      Google’s representations were and continue to be false.          Google unlawfully

19   intercepted Plaintiffs’ private browsing communications to collect their personal and sensitive

20   information, without disclosure or consent, including when they in Incognito mode visited non-

21   Google websites without being signed into any Google Account.

22          5.      Google has intercepted and collected Plaintiffs’ private browsing data by causing

23   their web browsing software to run Google software scripts (bits of code) that replicate and send

24   the data to Google servers in California. These Google software “scripts” do this even if the user

25   is in Incognito mode visiting non-Google websites. These Google software scripts give no notice

26   to the user of Google’s data collection methods, and operate without any choice or consent by users.

27          6.      These same Google practices have been extensively litigated in a class action lawsuit

28   filed in federal court in June 2020, where the federal court denied Google’s motions to dismiss and



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 1   for summary judgment and also granted Rule 23(b)(2) certification for two nationwide classes

 2   seeking injunctive relief. Brown v. Google LLC, No. 4:20-cv-03664-YGR-SVK (“Brown” or the

 3   “Brown Lawsuit”), Dkts. 53, 82, 87, 89, 92, 113. Google previously represented and led users (and

 4   regulators) to believe—falsely—that users could limit Google’s data collection practices by setting

 5   their Chrome browser to Incognito mode.

 6          7.      Admissions by Google employees found in many internal Google documents have

 7   become publicly available through the Brown Lawsuit, including for example:

 8          •    A 2014 Google email recommending changes to Incognito so “we don’t deceive users.”

 9          •    A Google email describing Incognito as “bad for users, bad for human rights, bad for

10               democracy.”

11          •    A 2015 Google internal presentation regarding Incognito “misconceptions” noting

12               “concern about Google collecting data in Incognito.”

13          •    A 2015 Google email describing Incognito as “radioactive” and “a lie.”

14          •    A 2016 Google email discussing Incognito and how “nothing will be more scannable

15               than the name and icon, both of which are a poor fit for what the feature actually

16               provides.”

17          •    A 2018 Google internal document titled “Five ways people misunderstand Incognito and

18               private browsing” noting “common misconceptions” that could give a “false impression

19               of privacy.”

20          •    A 2018 Google internal presentation titled “The Incognito Problem” noting Google

21               branding and disclosures “confuse people” with Google “over-promising and under-

22               delivering.”

23          •    A 2018 Google email discussing how the words “Incognito” and “private” reinforce the

24               “misperception that your browsing is private everywhere instead of just on your device.”

25          •    A 2018 Google email stating “the blame for people’s misconceptions about Incognito

26               Mode is due to that name and branding” as “argued repeatedly.”

27          •    A 2019 Google internal document regarding Incognito stating “most users do not

28               correctly understand the current messaging” and the need to clarify whether users are



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 1                “protected from Google.”

 2          •     A 2019 Google internal document for CEO Sundar Pichai instructing him to not use the

 3                word “private” to describe Incognito due to “known misconceptions.”

 4          •     A 2019 Google internal presentation noting Incognito “[u]sers currently believe that none

 5                of their data is collected and they are essential[ly] [sic] anonymous.”

 6          •     A 2020 Google internal presentation noting private browsing users “do not understand

 7                how private mode works” with “several common misconceptions” including that it “hides

 8                browsing activity from Google.”

 9          •     A 2020 Google internal document discussing Incognito and noting “[i]t’s not private in

10                ways that many users want, that is, as to Google” and “you don’t have the ability to see

11                or delete” data, “Google has it.”

12          •     A 2021 Google internal presentation noting Incognito “[u]sers overestimate the

13                protections that Incognito provides and are unaware of the personalization and data

14                collection that occurs.”

15          •     A 2021 email to Google CEO Sundar Pichai admitting Incognito is “not truly private.”

16          8.      Google accomplishes its surreptitious interception and data collection through means

17   that include (without limitation) Google Analytics, Google “fingerprinting” techniques, concurrent

18   Google applications and processes on a consumer’s device, and Google’s Ad Manager. More than

19   70% of all online publishers (websites) use one or more of these Google services. When a user’s

20   web-browsing software accesses one of those non-Google websites, hidden Google software

21   “scripts” cause the user’s device to send detailed, personal information to Google’s servers, including

22   the private browsing communications between the user and the website. This includes the contents

23   of the webpage being requested and the URL viewed, by Plaintiffs, in Incognito mode.

24          9.       Google’s practices violate the law, infringe upon users’ privacy, and give Google

25   and its employees power to learn intimate details about individuals’ lives, interests, and internet

26   usage. This makes Google “one stop shopping” for any private, government, or criminal actor who

27   wants to undermine individuals’ privacy, security, and freedom.

28          10.      Through its pervasive data tracking business, Google knows who your friends are,



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 1   what your hobbies are, what you like to eat, what movies you watch, where and when you like to

 2   shop, what your favorite vacation destinations are, what your favorite color is and even the most

 3   intimate and potentially embarrassing things you browse on the internet—regardless of whether you

 4   follow Google’s advice to keep your activities “private.” Notwithstanding consumers’ best efforts,

 5   to keep their activities on the internet private, Google has made itself an unaccountable trove of

 6   information so detailed and expansive that George Orwell could never have dreamed it.

 7          11.     Plaintiffs are individuals who are all within the scope of the certified nationwide

 8   classes in the Brown Lawsuit who have now decided to separately seek monetary relief from Google

 9   based on Google’s unlawful acts. Plaintiffs assert claims that already proceeded past motions to

10   dismiss and summary judgment in the Brown Lawsuit, where the federal court certified two

11   nationwide classes under Rule 23(b)(2) to pursue these claims for purposes of obtaining injunctive

12   relief. Plaintiffs now each seek monetary relief from Google, including statutory damages. Google

13   has taken the position that any request for monetary relief involves certain individualized issues and

14   should be tried separately.

15                                            THE PARTIES

16          12.     Plaintiffs are Google account holders whose internet use was tracked by Google while

17   browsing the internet from the Chrome browser in Incognito mode. Plaintiffs assert claims arising

18   from Google’s knowing and unauthorized interception and tracking of their internet communications

19   and activity and knowing and unauthorized invasion of consumer privacy.

20         13.      Plaintiff Gilbert Luna (“Luna”) is an adult domiciled in Imperial Beach, CA, who

21   has an active Google account and during the relevant period used Incognito mode to visit non-

22   Google websites without being signed in to any Google account.

23         14.      Plaintiff Isabella Massie (“Massie”) is an adult domiciled in Glendora, CA, who has

24   an active Google account and during the relevant period used Incognito mode to visit non-Google

25   websites without being signed in to any Google account.

26         15.      Plaintiff Nico Westbrook (“Westbrook”) is an adult domiciled in Arcata, CA, who

27   has an active Google account and during the relevant period used Incognito mode to visit non-

28   Google websites without being signed in to any Google account.



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 1         16.     Plaintiff Scott Daniels (“Daniels”) is an adult domiciled in Alameda, CA, who has

 2   an active Google account and during the relevant period used Incognito mode to visit non-Google

 3   websites without being signed in to any Google account.

 4         17.     Plaintiff Steve Sonza (“Sonza”) is an adult domiciled in Rohnert Park, CA, who has

 5   an active Google account and during the relevant period used Incognito mode to visit non-Google

 6   websites without being signed in to any Google account.

 7         18.     Plaintiff Eugene Jackson (“Jackson”) is an adult domiciled in Los Angeles, CA, who

 8   has an active Google account and during the relevant period used Incognito mode to visit non-

 9   Google websites without being signed in to any Google account.

10         19.     Plaintiff Luke Russell (“Russell”) is an adult domiciled in Huntington Beach, CA,

11   who has an active Google account and during the relevant period used Incognito mode to visit non-

12   Google websites without being signed in to any Google account.

13         20.     Plaintiff Conor Gleeson (“Gleeson”) is an adult domiciled in San Francisco, CA,

14   who has an active Google account and during the relevant period used Incognito mode to visit non-

15   Google websites without being signed in to any Google account.

16         21.     Plaintiff Andrew Monheim (“Monheim”) is an adult domiciled in Los Angeles, CA,

17   who has an active Google account and during the relevant period used Incognito mode to visit non-

18   Google websites without being signed in to any Google account.

19         22.     Plaintiff Nicholas Dill (“Dill”) is an adult domiciled in Stockton, CA, who has an

20   active Google account and during the relevant period used Incognito mode to visit non-Google

21   websites without being signed in to any Google account.

22         23.     Plaintiff Joseph Shofet (“Shofet”) is an adult domiciled in Los Angeles, CA, who

23   has an active Google account and during the relevant period used Incognito mode to visit non-

24   Google websites without being signed in to any Google account.

25         24.     Plaintiff Jerrell Jordon (“Jordon”) is an adult domiciled in Oakland, CA, who has an

26   active Google account and during the relevant period used Incognito mode to visit non-Google

27   websites without being signed in to any Google account.

28         25.     Plaintiff Joseph Brukner (“Brukner”) is an adult domiciled in Los Angeles, CA, who



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 1   has an active Google account and during the relevant period used Incognito mode to visit non-

 2   Google websites without being signed in to any Google account.

 3         26.     Plaintiff David Karvasales (“Karvasales”) is an adult domiciled in San Francisco,

 4   CA, who has an active Google account and during the relevant period used Incognito mode to visit

 5   non-Google websites without being signed in to any Google account.

 6         27.     Plaintiff David Smalt (“Smalt”) is an adult domiciled in Los Angeles, CA, who has

 7   an active Google account and during the relevant period used Incognito mode to visit non-Google

 8   websites without being signed in to any Google account.

 9         28.     Plaintiff Alexander Ely (“Ely”) is an adult domiciled in Anaheim, CA, who has an

10   active Google account and during the relevant period used Incognito mode to visit non-Google

11   websites without being signed in to any Google account.

12         29.     Plaintiff Ellen Dalen (“Dalen”) is an adult domiciled in San Jose, CA, who has an

13   active Google account and during the relevant period used Incognito mode to visit non-Google

14   websites without being signed in to any Google account.

15         30.     Plaintiff Ken Cornelius (“Cornelius”) is an adult domiciled in Bakersfield, CA, who

16   has an active Google account and during the relevant period used Incognito mode to visit non-

17   Google websites without being signed in to any Google account.

18         31.     Plaintiff Steven Botosh (“Botosh”) is an adult domiciled in Hayward, CA, who has

19   an active Google account and during the relevant period used Incognito mode to visit non-Google

20   websites without being signed in to any Google account.

21         32.     Plaintiff Nichole Adams (“Adams”) is an adult domiciled in Cameron Park, CA, who

22   has an active Google account and during the relevant period used Incognito mode to visit non-

23   Google websites without being signed in to any Google account.

24         33.     Plaintiff Johnathan Ornelas (“Ornelas”) is an adult domiciled in Pasadena, CA, who

25   has an active Google account and during the relevant period used Incognito mode to visit non-

26   Google websites without being signed in to any Google account.

27         34.     Plaintiff Brittany Powell (“Powell”) is an adult domiciled in Glendora, CA, who has

28   an active Google account and during the relevant period used Incognito mode to visit non-Google



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 1   websites without being signed in to any Google account.

 2         35.     Plaintiff Alain Mansoni (“Mansoni”) is an adult domiciled in Dublin, CA, who has

 3   an active Google account and during the relevant period used Incognito mode to visit non-Google

 4   websites without being signed in to any Google account.

 5         36.     Plaintiff Miranda Pierotti (“Pierotti”) is an adult domiciled in Richmond, CA, who

 6   has an active Google account and during the relevant period used Incognito mode to visit non-

 7   Google websites without being signed in to any Google account.

 8         37.     Plaintiff Kamari Quinones (“Quinones”) is an adult domiciled in Oakland, CA, who

 9   has an active Google account and during the relevant period used Incognito mode to visit non-

10   Google websites without being signed in to any Google account.

11         38.     Plaintiff George Degraw (“Degraw”) is an adult domiciled in Huntington Beach,

12   CA, who has an active Google account and during the relevant period used Incognito mode to visit

13   non-Google websites without being signed in to any Google account.

14         39.     Plaintiff Michael Nagle (“Nagle”) is an adult domiciled in Los Angeles, CA, who

15   has an active Google account and during the relevant period used Incognito mode to visit non-

16   Google websites without being signed in to any Google account.

17         40.     Plaintiff Julien Salgado (“Salgado”) is an adult domiciled in Martinez, CA, who has

18   an active Google account and during the relevant period used Incognito mode to visit non-Google

19   websites without being signed in to any Google account.

20         41.     Plaintiff Oliver Helms (“Helms”) is an adult domiciled in San Rafael, CA, who has

21   an active Google account and during the relevant period used Incognito mode to visit non-Google

22   websites without being signed in to any Google account.

23         42.     Plaintiff Nolan Dugger (“Dugger”) is an adult domiciled in Los Angeles, CA, who

24   has an active Google account and during the relevant period used Incognito mode to visit non-

25   Google websites without being signed in to any Google account.

26         43.     Plaintiff Omar Masri (“Masri”) is an adult domiciled in Long Beach, CA, who has

27   an active Google account and during the relevant period used Incognito mode to visit non-Google

28   websites without being signed in to any Google account.



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 1         44.     Plaintiff Ronald Corona (“Corona”) is an adult domiciled in San Francisco, CA, who

 2   has an active Google account and during the relevant period used Incognito mode to visit non-

 3   Google websites without being signed in to any Google account.

 4         45.     Plaintiff Andrew Cardamone (“Cardamone”) is an adult domiciled in San Jose, CA,

 5   who has an active Google account and during the relevant period used Incognito mode to visit non-

 6   Google websites without being signed in to any Google account.

 7         46.     Plaintiff Keith Anderson (“Anderson”) is an adult domiciled in Moss Beach, CA,

 8   who has an active Google account and during the relevant period used Incognito mode to visit non-

 9   Google websites without being signed in to any Google account.

10         47.     Plaintiff Eijae Zanders (“Zanders”) is an adult domiciled in Carson, CA, who has an

11   active Google account and during the relevant period used Incognito mode to visit non-Google

12   websites without being signed in to any Google account.

13         48.     Plaintiff Helena Apothaker (“Apothaker”) is an adult domiciled in West Hollywood,

14   CA, who has an active Google account and during the relevant period used Incognito mode to visit

15   non-Google websites without being signed in to any Google account.

16         49.     Plaintiff Timothy Elliott (“Elliott”) is an adult domiciled in Arcata, CA, who has an

17   active Google account and during the relevant period used Incognito mode to visit non-Google

18   websites without being signed in to any Google account.

19         50.     Plaintiff Deana Steinberg (“Steinberg”) is an adult domiciled in Stockton, CA, who

20   has an active Google account and during the relevant period used Incognito mode to visit non-

21   Google websites without being signed in to any Google account.

22         51.     Plaintiff Justin Nunez (“Nunez”) is an adult domiciled in Sacramento, CA, who has

23   an active Google account and during the relevant period used Incognito mode to visit non-Google

24   websites without being signed in to any Google account.

25         52.     Plaintiff Anastasia Basche (“Basche”) is an adult domiciled in Los Angeles, CA,

26   who has an active Google account and during the relevant period used Incognito mode to visit non-

27   Google websites without being signed in to any Google account.

28         53.     Plaintiff Andrea Cardona (“Cardona”) is an adult domiciled in Hemet, CA, who has



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 1   an active Google account and during the relevant period used Incognito mode to visit non-Google

 2   websites without being signed in to any Google account.

 3         54.     Plaintiff Alvaro Herrera (“Herrera”) is an adult domiciled in San Jose, CA, who has

 4   an active Google account and during the relevant period used Incognito mode to visit non-Google

 5   websites without being signed in to any Google account.

 6         55.     Plaintiff Alberto Cuellar (“Cuellar”) is an adult domiciled in Bellflower, CA, who

 7   has an active Google account and during the relevant period used Incognito mode to visit non-

 8   Google websites without being signed in to any Google account.

 9         56.     Plaintiff Abraham Valdez (“Valdez”) is an adult domiciled in Chula Vista, CA, who

10   has an active Google account and during the relevant period used Incognito mode to visit non-

11   Google websites without being signed in to any Google account.

12         57.     Plaintiff Alfredo Rodriguez (“Rodriguez”) is an adult domiciled in Fullerton, CA,

13   who has an active Google account and during the relevant period used Incognito mode to visit non-

14   Google websites without being signed in to any Google account.

15         58.     Plaintiff Amir Chrayah (“Chrayah”) is an adult domiciled in Santa Ana, CA, who

16   has an active Google account and during the relevant period used Incognito mode to visit non-

17   Google websites without being signed in to any Google account.

18         59.     Plaintiff Anthony Byrd (“Byrd”) is an adult domiciled in Merced, CA, who has an

19   active Google account and during the relevant period used Incognito mode to visit non-Google

20   websites without being signed in to any Google account.

21         60.     Plaintiff Alan Starzinski (“Starzinski”) is an adult domiciled in Los Angeles, CA,

22   who has an active Google account and during the relevant period used Incognito mode to visit non-

23   Google websites without being signed in to any Google account.

24         61.     Plaintiff Andrew Bith (“Bith”) is an adult domiciled in Long Beach, CA, who has an

25   active Google account and during the relevant period used Incognito mode to visit non-Google

26   websites without being signed in to any Google account.

27         62.     Plaintiff Adeola Obasa (“Obasa”) is an adult domiciled in Redwood City, CA, who

28   has an active Google account and during the relevant period used Incognito mode to visit non-



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 1   Google websites without being signed in to any Google account.

 2          63.      Defendant Google is a Delaware limited liability company with a principal place of

 3   business at what is officially known as The Googleplex, 1600 Amphitheatre Parkway, Mountain

 4   View, California 94043. Google regularly conducts business throughout California and in this

 5   judicial district. Google is one of the largest technology companies in the world and conducts

 6   product development, search, and advertising operations in this district.

 7                                      JURISDICTION AND VENUE
 8           64.     This Court has jurisdiction because Google’s principal place of business is in

 9   California, Google maintains its headquarters in Santa Clara County, California, and a substantial

10   part of the events and conduct giving rise to Plaintiffs’ claims occurred in this State, including

11   Google’s development of the at-issue technology and receiving, accessing, and using the intercepted

12   communications and data at issue in California.

13           65.     This Court is a proper venue for this action. Google is headquartered in and engaged

14   in the unlawful conduct from this County, and the contract between Plaintiffs and Google includes a

15   venue selection clause for Santa Clara County. Google’s Terms of Service state “all disputes arising

16   out of or relating to these terms, service specific additional terms, or any related services, regardless of

17   conflict of laws rules ... will be resolved exclusively in the federal or state courts of Santa Clara County,

18   California, USA, and you and Google consent to personal jurisdiction in those courts.” Venue is

19   therefore proper here in Santa Clara County.

20                        FACTUAL ALLEGATIONS REGARDING GOOGLE
21   I.      Google’s History of Privacy Violations & Its Agreement with the FTC

22           66.     Google’s violation of consumers’ privacy rights is not new—it has been persistent

23   and pervasive for at least a decade.

24           67.     In 2010, the FTC charged that Google “used deceptive tactics and violated its own

25   privacy promises to consumers when it launched its social network, Google Buzz.” To settle the

26   matter, the FTC barred Google “from future privacy misrepresentations” and required Google “to

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 1   implement a comprehensive privacy program.”1

 2          68.     In 2011, Google entered into a consent decree with the FTC (the “Consent Decree”),

 3   effective for 20 years, in which the FTC required and Google agreed as follows (emphasis added):

 4                  IT IS ORDERED that [Google], in or affecting commerce, shall not
                    misrepresent in any manner, expressly or by implication:
 5
                    A. the extent to which [Google] maintains and protects the privacy and
 6                  confidentiality of any covered information, including, but not limited to,
                    misrepresentations related to: (1) the purposes for which it collects and uses
 7                  covered information, and (2) the extent to which consumers may exercise
                    control over the collection, use, or disclosure of covered information.2
 8

 9          69.     This requirement applies to the Google conduct at issue in this lawsuit, as the

10   Consent Decree broadly defines “covered information” to include information Google “collects

11   from or about an individual” including a “persistent identifier, such as IP address,” and

12   combinations of additional data with the same.

13          70.     Just one year after the Consent Decree was entered, the FTC found that Google had

14   already violated the Consent Decree, by way of Google’s misrepresentations regarding what

15   consumer data it would and would not collect with the Safari web browser. In an August 2012

16   press release, the FTC explained:

17                  Google Inc. has agreed to pay a record $22.5 million civil penalty to settle
                    Federal Trade Commission charges that it misrepresented to users of
18                  Apple Inc.’s Safari Internet browser that it would not place tracking
                    “cookies” or serve targeted ads to those users, violating an earlier privacy
19                  settlement between the company and the FTC.
20                  The settlement is part of the FTC’s ongoing efforts make sure companies
                    live up to the privacy promises they make to consumers, and is the largest
21                  penalty the agency has ever obtained for a violation of a Commission
                    order. In addition to the civil penalty, the order also requires Google to
22                  disable all the tracking cookies it had said it would not place on
                    consumers’ computers.
23
                    “The record setting penalty in this matter sends a clear message to all
24                  companies under an FTC privacy order,” said Jon Leibowitz, Chairman of
                    the FTC. “No matter how big or small, all companies must abide by FTC
25                  orders against them and keep their privacy promises to consumers, or they
26
     1
        https://www.ftc.gov/news-events/press-releases/2011/03/ftc-charges-deceptive-privacy-
27   practices-googles-rollout-its-buzz.
     2
28     https://www.ftc.gov/sites/default/files/documents/cases/2011/03/110330googlebuzzagreeorder.p
     df.


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                    will end up paying many times what it would have cost to comply in the
 1                  first place.”3
 2
            71.     Since 2012, a number of federal, state, and international regulators have similarly
 3
     accused Google of violating its promises to consumers on what data it would and would not collect,
 4
     with Google failing to obtain consent for its conduct.
 5
            72.     In September 2016, when Google updated its browser app for Apple iOS, Google
 6
     wrote that users would have “[m]ore control with incognito mode” and “Your searches are your
 7
     business. That’s why we’ve added the ability to search privately with incognito mode in the
 8
     Google app for iOS. When you have incognito mode turned on in your settings, your search and
 9
     browsing history will not be saved.”4 Google made no statements about how users’ privacy would
10
     actually be limited in these private browsing sessions and avoided for years what it now claims (as
11
     a result of this litigation shining the light on its practices): that users never had the privacy they
12
     were promised.
13
            73.     Similarly, in May 2018, Google modified its privacy policy to state, “[y]ou can use
14
     our services in a variety of ways to manage your privacy. . . . You can also choose to browse the
15
     web privately using Chrome in Incognito mode.”5
16
            74.     Nonetheless, in 2019, Google and YouTube agreed to pay $170 million to settle
17
     allegations by the Federal Trade Commission and the New York Attorney General that YouTube
18
     video sharing services illegally collected personal information from children without their parents’
19
     consent.
20
            75.     Then, in June 2020, France’s Highest Administrative Court upheld a 50 million
21
     Euro fine against Google based on its failure to provide clear notice and obtain users’ valid consent
22
     to process their personal data for ad personalization purposes.
23
            76.     There have been myriad proceedings by the State Attorneys General and the
24

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26   3
       https://www.ftc.gov/news-events/press-releases/2012/08/google-will-pay-225-million-settle-
     ftc-charges-it-misrepresented.
27   4
       https://www.googblogs.com/the-latest-updates-and-improvements-for-the-google-app-for-ios/.
28   See also, https://search.googleblog.com/index.html.
     5
       https://policies.google.com/privacy/archive/20171218-20180525?hl=en-US.


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 1   Australian Competition and Consumer Commission alleging Google’s failure to obtain consent

 2   regarding its collection of location data and its decision to combine certain user data.

 3          77.     For example, in the Arizona Attorney General action, Google has produced

 4   documents establishing “overwhelming” evidence that “Google has known that the user

 5   experience they designed misleads and deceives users.”

 6          78.     And in an Australia proceeding, the Australian Competition & Consumer

 7   Commission (“ACCC”) alleged that “Google misled Australian consumers to obtain their consent

 8   to expand the scope of personal information that Google could collect and combine about

 9   consumers’ internet activity, for use by Google, including for targeted advertising.”6 The ACCC

10   contended that Google “misled Australian consumers about what it planned to do with large

11   amounts of their personal information, including internet activity on websites not connected to

12   Google.”7

13          79.     Google’s employees made numerous admissions in internal communications,

14   recognizing that Google’s privacy disclosures are a “mess” with regards to obtaining “consent”

15   for its data collection practices and other issues relevant in this lawsuit. Those documents are

16   heavily redacted by Google, and include for example the following comments and questions by

17   Google employees:

18                  a.      “Do users with significant privacy concerns understand what data we are

19                          saving?”

20                  b.      “[T]ake a look at [redacted by Google] – work in progress, trying to rein

21                          in the overall mess that we have with regards to data collection, consent,

22                          and storage.”

23                  c.      “[A] bunch of other stuff that’s super messy. And it’s a Critical User

24                          Journey to make sense out of this mess.”

25

26   6
       https://www.accc.gov.au/media-release/correction-accc-alleges-google-misled-consumers-
     about-expanded-use-of-personal-
27   data#:~:text=The%20ACCC%20has%20launched%20Federal,Google%2C%20including%20for
28   %20targeted%20advertising.
     7
       Id.


                                                      16
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 1          80.       Those internal documents are not limited to location data, and unredacted versions

 2   of those documents and other internal Google documents will further demonstrate and confirm the

 3   lack of consent for the Google conduct at issue in this lawsuit.

 4   II.    Google’s Privacy Policy, Privacy “Controls,” and “Incognito Screen” Each Falsely
            State that Users Can Prevent Google’s Collection By Using “Private Browsing
 5          Mode” (Including Incognito Mode)
 6          81.       The public, legislators, and courts have become increasingly aware of online threats
 7   to consumer privacy—including threats posed by powerful technology companies like Google that
 8   have become household names.
 9          82.       To comply with the new laws like the California Consumer Privacy Act (the
10   “CCPA”) and Europe’s General Data Privacy Regulation (the “GDPR”) and to comply with the
11   Consent Decree, Google has repeatedly represented that users have control over what information
12   is shared with Google and that users can prevent Google from tracking their browsing history and
13   collecting their personal data online.
14          83.       Plaintiffs had a reasonable expectation of privacy while they were using a private
15   browser mode. Specifically, Plaintiffs expected that, when they were using Incognito mode,
16   Google (a) would not collect the data as described in this Complaint, and (b) would not thereafter
17   use the data, collected during “private browsing mode,” for all of the purposes described below.
18          84.       This expectation of privacy was reasonable because of Google’s own statements
19   regarding “private browsing modes” like Incognito mode as described below, including the
20   following:
21                •   “You’re in control of what information you share with Google . . . .”
22                •   “You can use our services in a variety of ways to manage your privacy . . . across
23                    our services, you can adjust our privacy settings to control what we collect and
24                    how your information is used.”
25                •   “You can also choose to browse the web privately using Chrome in Incognito
26                    mode.”
27                •   “Your search and ad results may be customized using search-related activity even
28                    if you’re signed out. To turn off this kind of search customization, you can search


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 1                     and browse privately.”

 2                 •   “To browse the web privately, you can use private browsing, sign out of your

 3                     account, change your custom results settings, or delete past activity.”

 4                 •   “Your searches are your business. . . . When you have incognito mode turned on

 5                     in your settings, your search and browsing history will not be saved.”

 6   Importantly, Google did not represent in any disclosure to Plaintiffs that it would continue to

 7   intercept, track, and collect communications even when they used a browser while in Incognito

 8   mode.

 9           85.       Google never notified Plaintiffs that Google would intercept, collect, store, or use

10   Plaintiffs’ communications while in Incognito mode.

11           A.        Privacy Policy
12           86.       In Google’s Privacy Policy (the “Privacy Policy”), Google made numerous

13   representations about how users can “control” the information users share with Google and how

14   users can browse the web anonymously and without their communications with websites being

15   intercepted.

16           87.       Google’s Privacy Policy starts by stating in the Introduction section that “you can

17   adjust your privacy settings to control what we collect and how your information is used” and that

18   “[y]ou can choose to browse the web privately using Chrome in Incognito mode”:

19
20

21

22           88.       The front and center of the “choices” offered to consumers is “Your privacy

23   controls” on the Privacy Policy. Here, Google reiterates, “[y]ou have choices regarding the

24   information we collect and how it’s used.” On the “My Activity” section of this part of the Privacy

25   Policy, Google reiterates that “My Activity allows you to review and control data that’s created

26   when you use Google services, like searches you’ve done.”

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 7          89.      In the Privacy Policy Google also promises that it will not reduce the protections it

 8   guarantees to users without first obtaining their explicit consent to do so:

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            B.       Privacy “Controls”
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            90.      Users interested in controlling what Google collects are directed to the “Control
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     Panel” of this same Privacy Policy, where Google assures users that “[t]o browse the web privately,
18
     you can use private browsing” and that “[i]f you want to search the web without saving your search
19
     activity to your account, you can use private browsing mode in a browser (like Chrome or Safari).”8
20
     When users click on “Go to My Activity” to control their data, they are presented with the option
21
     to “Learn more.” When users click on “Learn more,” they are taken to a page where they are
22
     supposed to be able to “View & control activity in your account.” On that page, Google states that
23
     you may “[s]top saving activity temporarily. . . . You can search and browse the web privately,”
24
     embedding a hyperlink to the “Search & Browse Privately” page.9
25

26
     8
      https://support.google.com/websearch/answer/4540094?.
27   9
      See SEARCH & BROWSE PRIVATELY,
28   https://support.google.com/websearch/answer/4540094?hl=en&ref_topic
     =3036132.


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 1           91.     On the “Search & Browse Privately” page, Google once again reiterates that the

 2   user, not Google, is “in control of what information [a user] . . . share[s] with Google . . . .” Google

 3   states simply that consumers enabling “private browsing mode” on their browsers will allow

 4   consumers to “browse the web privately”:

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17   There is nothing on this page about Google Analytics, Google Ad Manager, any other Google data
18   collection tool, or where and which websites online implement such data collection tools.
19           92.     From the “View & control activity in your account” page referenced above, a
20   consumer can also click the link, “See & control your Web & App Activity” on the right-hand
21   side.10 On that page, Google again represents that searching and browsing in “private browsing
22   mode” will “turn off” any “search customization” “using search-related activity”:
23

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25

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27
     10
28     SEE & CONTROL YOUR WEB & APP ACTIVITY, https://support.google.com/websearch/
     answer/54068?visit_id=6372555086257257422105376128&hl=en&rd=1.


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 4          93.     When users click the “Learn how” link, they are again redirected back to the
 5   “Search & Browse Privately” page. In other words, because Google repeatedly touts that users
 6   can “control” the information they share with Google and Google constantly refers users back to
 7   its recommendations on how users may “browse the web privately,” users are left with only one
 8   reasonable impression—if they are searching or browsing the web in “private browsing mode,”
 9   Google will honor their request to be left alone without further Google tracking.
10          C.      “Incognito Screen”
11          94.     “Incognito” is Google’s name for the “private browsing mode” of Google’s own
12   web browser software, Google Chrome. Google has presented Plaintiffs and others with following
13   splash screen (hereinafter the “Incognito Screen”) when they start Incognito in Google’s Chrome
14   browser:
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            95.     Based on these Google representations, Plaintiffs reasonably expected that Google
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     would not collect their data while in Incognito mode. They reasonably understood “You’ve gone
27
     incognito” and “Now you can browse privately” to mean they could browse privately, without
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 1   Google’s continued tracking and data collection. Google could have disclosed on this Incognito

 2   Screen that Google would track users and collect their data while they were browsing privately, but

 3   Google did not do that. Instead, Google included representations meant to assure users that they

 4   had “gone incognito” and could “browse privately” with only limited exceptions, none of which

 5   disclosed Google’s own tracking and data collection practices while users were in a private

 6   browsing mode.

 7          96.     Google’s Incognito Screen is also deeply misleading for three other reasons. First,

 8   Google represents in the Incognito Screen that it “won’t save . . . [y]our browsing history . . .

 9   cookies and site data[.]” False. In fact, Google’s code continues to send the user’s browsing history

10   and other data directly to Google’s servers during users’ private browsing sessions. Google then

11   associates that data with the user’s “Google profile” across its services, so that Google can create,

12   update, and monetize detailed profiles on billions of consumers.

13          97.     Second, Google represents in the Incognito Screen that “[n]ow you can browse

14   privately, and other people who use this device won’t see your activity.” False. In fact, the session

15   is not “private” at all, and “other people who use this device” will still know what preceding users

16   did by way of targeted ads served by Google based on browsing activity that took place during the

17   “private browsing.”

18          98.     Third, Google represents in the Incognito Screen that the only entities to whom the

19   user’s “activity might still be visible” are “the websites you visit[,] [y]our employer or school[, and]

20   [y]our internet service provider[.]” False. Users’ activities are visible to Google, which continues

21   to track users, intercept their communications, and collect their data while they are in Incognito

22   mode and other private browsing modes.

23          99.     What is conspicuously absent from the Incognito Screen—and any other

24   representation by Google—is a disclosure that Google continues to track users while they are in a

25   private browsing mode. Nothing in Google’s Privacy Policy or Incognito Screen leads users to

26   believe that during private browsing Google continues to persistently intercept their browsing data

27   for its own profit. In fact, when the Privacy Policy and Incognito Screen are read together, the user

28   necessarily reaches the opposite conclusion.



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 1          100.    There are many other examples of Google representing that users could control

 2   what information was shared with Google, including by using a private browsing mode. For

 3   example, from May 2018 to February 2022, Google’s Privacy Policy stated: “You can use our

 4   services in a variety of ways to manage your privacy. . . . You can also choose to browse the web

 5   privately using Chrome in Incognito mode.” In September 2016, Google posted about an update

 6   for the Google app for iOS, stating that users would have “[m]ore control with incognito mode”

 7   and “Your searches are your business. That’s why we’ve added the ability to search privately with

 8   incognito mode in the Google app for iOS. When you have incognito mode turned on in your

 9   settings, your search and browsing history will not be saved.”

10          101.    Google’s representations about how it does not track users under these conditions

11   are completely false, and contrary to the new privacy laws and its 2011 Consent Decree. Not only

12   do consumers (including Plaintiffs) not know about what Google is doing to collect data on them,

13   they have no meaningful way of avoiding Google’s data collection practices, even if they are

14   following Google’s instructions to “browse the web privately.”

15          D.      Plaintiffs Had a Reasonable Expectation of Privacy

16          102.    Plaintiffs’ expectation of privacy was reasonable, not only because of Google’s

17   various representations, but also because of survey data showing the expectations of Internet users.

18   A number of studies examining the collection of consumers’ personal data confirms that the

19   surreptitious taking of personal, confidential, and private information—as Google has done—

20   violates reasonable expectations of privacy that have been established as general social norms.

21   Privacy polls and studies uniformly show that the overwhelming majority of Americans consider

22   one of the most important privacy rights to be the need for an individual’s affirmative consent

23   before a company collects and shares a subscriber’s personal data. Indeed, a recent study by

24   Consumer Reports shows that 92% of Americans believe that internet companies and websites

25   should be required to obtain consent before selling or sharing their data and the same percent

26   believe internet companies and websites should be required to provide consumers with a complete

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 1   list of the data that has been collected about them.11

 2           103.   Just as importantly, since 2018, states like California passed the CCPA, which

 3   requires that data collection practices be disclosed at or before the actual collection is done.12

 4   Otherwise, “[a] business shall not collect additional categories of personal information or use

 5   personal information collected for additional purposes without providing the consumer with notice

 6   consistent with this section.”13

 7   III.    Google Surreptitiously Intercepts Communications Between Users and Websites
             And Collects Personal and Sensitive User Data Even When the Users are in “Private
 8           Browsing Mode”
 9           A.     The Data Secretly Collected
10           104.   Whenever Plaintiffs in Incognito mode visit a website that is running Google

11   Analytics or Google Ad Manager, Google’s software scripts on the website surreptitiously direct

12   the user’s browser to send a secret, separate message to Google’s servers in California. This

13   message contains:

14                  a.      The “GET request” sent from the user’s computer or mobile device to the

15   website. When an individual internet user visits a web page, his or her browser sends a message

16   called a “GET request” to the webpage’s server. The GET request serves two purposes: it first

17   tells the website what information is being requested and then instructs the website to send the

18   information back to the user. The copy of the “GET request,” which is sent to Google, enables

19   Google to learn exactly what content the user’s browsing software was asking the website to

20   display. The GET request also transmits a referer header containing the URL information of what

21   the user has been viewing and requesting from websites online;

22                  b.      The IP address of the user’s connection to the internet;14

23
     11
        Consumers Less Confident About Healthcare, Data Privacy, and Car Safety, New Survey
24
     Finds, CONSUMER REPORTS (May 11, 2017), https://www.consumerreports.org/consumer-
25   reports/consumers-less-confident-about-healthcare-data-privacy-and-car-safety/.
     12
        Cal. Civ. Section 1798.100(b). See also, Nev. Rev. Stat. Section 603A.340.
26   13
        Id.
     14
        IP stands for “Internet Protocol.” Each device, when connected to the Internet, is assigned a
27   unique IP address by the Internet Service Provider (ISP) that is providing the internet connection.
28   IP addresses may change over time but often do not. In many cases, an ISP will continue to
     assign the same IP address to the same device.


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 1                  c.      Information identifying the browser software that the user is using,

 2   including any “fingerprint” data (as described further below);

 3                  d.      Any “User-ID” issued by the website to the user, if available (as described

 4   further below);

 5                  e.      Geolocation of the user, if available (as described further below); and

 6                  f.      Information contained in “Google cookies,” which were saved by the user’s

 7   web browser on the user’s device at any prior time (as described further below).

 8          105.    To be clear, the second secret transmission directed by Google, containing both the

 9   duplicated message and additional data, is initiated by Google code and concurrent with the

10   communications with the third-party website. This diagram illustrates the process:

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            106.    The above chart illustrates how the user communicates with his or her own web
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     browser in a private browsing mode, for example, by clicking on a link to content the user wishes
24
     to view on The New York Times. The user’s browser then sends a communication to The New
25
     York Times. Because The New York Times is running Google Analytics, Google’s embedded
26
     Google code, written in Javascript, sends secret instructions back to the user’s browser, without
27
     alerting the user that this is happening. Google causes the user’s browser to secretly duplicate the
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 1   communication with the website, transmitting it to Google servers in California. Google not only

 2   surreptitiously duplicates the data included in the communication with The New York Times but

 3   it also includes additional information on the user’s prior private browsing histories with Facebook

 4   and YouTube, by way of technologies such as cached cookies from prior sessions. Where the user

 5   is using Google Chrome, Google also causes to be sent its X-Client-Data Header information if

 6   that is available, which uniquely identifies the user.

 7          107.    Google does not notify users of this secret Google software code designed to collect

 8   user data even while they are in a private browsing mode, which is hidden from users and run

 9   without any notice to users of the interception and data collection, which exceeded all

10   contemplated and authorized use of their data. Users also have no way to remove that Google

11   script or to opt-out of its functionality. Google designed the software in a way to render ineffective

12   any barriers users may wish to use to prevent access to their information, including by browsing

13   in Incognito mode or other private browsing modes. Private browsing modes are supposed to

14   provide users with privacy, as represented by Google, but Google’s software by design

15   circumvents those barriers and enables Google to secretly collect user data and profile users.

16          B.      Google Collects Data Using Google Analytics
17                  1.      Google Analytics Code
18          108.    Over 70% of online websites and publishers on the internet, many of whom are

19   businesses in California, utilize Google’s website visitor-tracking product, “Google Analytics,” in

20   addition to other Google advertisement technology products (altogether the “Websites”). Google

21   Analytics is a “freemium” service that Google makes available to websites.15 Google Analytics

22   provides data analytics and attribution about the origins of a Website’s traffic, demographics,

23   frequency, browsing habits on the Website, and other data about visitors. While Google Analytics

24   is used by Websites, it is also essential to Google for its targeted advertisement services, and makes

25   Google Search and its rankings possible by tracking the billions of visits to various Websites every

26
     15
        Google Analytics is “free” to implement, but the associated data and attribution reports come
27   at a price tag when Websites want more specific information. To obtain more specific and
28   granular data about visitors, Websites must pay a substantial fee, such as by paying for Google’s
     DV360, Ad Hub, or Google Audience products.


                                                      26
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 1   day.

 2           109.   To implement Google Analytics, Google requires that Websites embed Google’s

 3   own custom but blackbox code into their existing webpage code. When a consumer visits a

 4   Website, his or her browser communicates a request to the Website’s servers to send the computer

 5   script to display the Website. The consumer’s browser then begins to read Google’s custom code

 6   along with the Website’s own code when loading the Website from the Website’s server. Two

 7   sets of code are thus automatically run as part of the browser’s attempt to load and read the Website

 8   pages—the Website’s own code, and Google’s embedded code. Google’s embedded code causes

 9   the second and concurrent secret transmission from the user’s browser (on the user’s computer or

10   other connected device), containing the duplicated message between the user and the Website, to

11   be combined with additional data such as the user’s prior browsing history and other Google

12   trackers, to be sent to Google’s servers.

13                  2.      User-ID

14           110.   For larger websites and publishers that are able to pay Google’s additional fees,

15   Google offers an upgraded feature called “Google Analytics User-ID,” which allows Google to

16   map and match the user (including Plaintiffs) to a specific unique identifier that Google can track

17   across the web. The User-ID feature allows Websites to “generate [their] own unique IDs,

18   consistently assign IDs to users, and include these IDs wherever [the Websites] send data to

19   Analytics.” Because of Google’s omnipresence on the web, the use of User-IDs can be so powerful

20   that the IDs “identify related actions and devices and connect these seemingly independent data

21   points. That same search on a phone, purchases on a laptop, and re-engagement on a tablet that

22   previously looked like three unrelated actions on unrelated devices can now be understood as one

23   user’s interactions with [the website’s] business.”16 This User-ID information is even more useful

24   to Google than the individual websites, however. Across millions of websites, Google is able to

25   use its secretly embedded computer scripts and User-IDs to compile what URLs the same users

26   are viewing, even when they are in “private browsing mode,” adding all of this information to

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28      How USER-ID Works, Google Analytics Help,
     https://support.google.com/analytics/answer/3123662?hl=en&ref_topic=3123660.


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 1   Google’s stockpile of user profiles. In short, with its market power and User-IDs, no one else can

 2   track users online like Google.

 3                  3.     Cookies
 4          111.    Google also uses various cookies (hereinafter “Cookies”) to supplement Google

 5   Analytics’ tracking practices. Specifically, Google Analytics contains a script that causes the

 6   user’s (including Plaintiffs’) browser to transmit, to Google, information from each of the Google

 7   Cookies already existing on the browser’s cache. These Cookies typically show, at a minimum,

 8   the prior websites the user has viewed.17 These Cookies help enrich Google’s profile on the user,

 9   which Google uses for its own benefit and profit.

10          112.    Google typically has its Cookies working with Google Analytics coded as “first

11   party cookies,”18 so that consumers’ browsers are tricked into thinking that those Cookies are

12   issued by the Website and not Google. This makes it very difficult for consumers to block

13   Google’s Cookies, even if consumers tried to block or clear the cookies issued by “third parties.”

14          113.    As discussed earlier, Google’s misuse of Cookies on the Safari browser to

15   circumvent user controls was exactly what caused the FTC to fine Google $22.5 million in 2012.

16   The FTC had found that such circumvention of consumer controls and representations were direct

17   violations of the Consent Decree.

18                  4.     No Consent
19          114.    Google, as a matter of policy, does not require that Websites disclose how Google

20   Analytics work to consumers (including Plaintiffs). Also, Google does not tell its users which

21   websites implement Google Analytics. Google starts collecting user data as soon as a page is

22   loading, before a consumer even had the chance to review the page. There is no effective way for

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        A “cookie” is a piece of code that records information regarding the state of the user’s system
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     (e.g., username; other login information; items added to a “shopping cart” in an online store) or
25   information regarding the user’s browsing activity (including clicking particular buttons, logging
     in, or recording which pages were visited in the past). Cookies can also be used to remember
26   pieces of information that the user previously entered into form fields, such as names, addresses,
     passwords, and payment card numbers. Even in “private browsing mode,” Google’s “scripts” on
27   websites cause the user’s browser to transmit information to Google relating to pre-existing
28   “cookies” on the user’s system.
     18
        https://developers.google.com/analytics/devguides/collection/analyticsjs/cookie-usage


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 1   users to avoid Google Analytics along with Google’s secret interceptions and data collection.

 2   Where users have not been presented with an actual choice, there can be no consent.

 3          115.    Websites implementing Google Analytics do not consent to the Google conduct at

 4   issue in this lawsuit, where Google collects consumer data for Google’s own purposes and

 5   financial benefit while users have enabled Incognito mode. Google never receives consent from

 6   Websites implementing Google Analytics or otherwise that Google may continue to intercept user

 7   activity and user data for its own purposes even when Incognito mode has been enabled.

 8          116.    Google’s disclosures confirm the lack of consent from Websites to intercept or

 9   collect data while users are in Incognito mode. Google represents to consumers and Websites alike

10   that Google will adhere to its own Privacy Policy as represented, whenever Google Analytics is

11   used. Specifically, Google states on the Analytics Help page for Websites the following, regarding

12   how it follows its own Privacy Policy:

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 1   When any Website clicks on the “Google privacy policy & principles” above, they are taken to

 2   Google’s Privacy Policy homepage at https://policies.google.com/privacy?hl=en, where Google

 3   has made assurances to the users such as “you can adjust your privacy settings to control what we

 4   collect and how your information is used” and that “[y]ou can choose to browse the web privately

 5   using Chrome in Incognito mode.” In short, Google has assured Websites that Google Analytics

 6   will only be implemented on Websites in such a way that individual users maintain control.

 7          117.    Accordingly, Websites implementing Google Analytics have not consented, do not

 8   consent and cannot consent to Google’s interception and collection of user data for Google’s own

 9   purposes when users have enabled Incognito mode because doing so would violate Google’s own

10   Privacy Policy, as well as its assurances that its product complies with privacy laws and the

11   Consent Decree by respecting consumer choice.

12          C.      Google Collects Data Using Ad Manager

13          118.    In addition to Google Analytics, over 70% of website publishers, many of whom

14   are businesses in California, utilize another Google tracking and advertising product, called

15   “Google Ad Manager” (formerly known as “DoubleClick For Publishers” or “DFP”), which also

16   collects the users’ URL viewing history.

17          119.    Like Google Analytics, Google Ad Manager requires Google code to be embedded

18   into the Website’s code. When the user’s (including Plaintiffs) browser sends a communication

19   to the website, asking for content to be displayed (i.e., the URL), then the embedded Google code

20   causes the user’s browser to display targeted Google advertisements. These targeted ads are

21   displayed along with the Website’s actual content. These advertisements are shown to the user on

22   behalf of Google’s advertising customers, allowing Google to make money.

23          120.    Google Ad Manager also uses Approved Pixels (supra) and Cookies to track users

24   across the internet. Because of the number of Websites that use Google Ad Manager, it is very

25   difficult for consumers (including Plaintiffs) to avoid its persistence. Like Google Analytics,

26   Google Ad Manager begins collecting information on a user, before the content for the webpage

27   has even fully loaded.

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 1          121.    To maximize Google’s revenue, Google Ad Manager is set up to automatically

 2   retarget a user based on information that Google has previously collected, whether this information

 3   is based on a persistent identifier (e.g., Google Analytics User-ID, X-Client-Data Header, supra),

 4   Google’s fingerprinting (e.g., Approved Pixels, supra), or geolocation. Thereafter, Google

 5   continues to track and target the same user across the internet:

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16          122.    In many cases, the intercepted communications provide the “context” for targeted
17   “contextual advertising” for Google, where Google combines the URL the consumer is viewing,
18   with what Google knows about that user (e.g., Google Analytics User-ID, geolocation), to target
19   the consumer in the “context” of his or her web experience. Because of Google’s pervasive
20   presence on the internet, its unparalleled reach and its uncanny ability to so target consumers,
21   advertisers are willing to pay a premium for Google’s advertisement services.
22          123.    As with Websites implementing Google Analytics, Websites using Ad Manager do
23   not consent to Google collecting data for Google’s own purposes while users have enabled
24   Incognito mode. On information and belief, Google never receives consent from Websites
25   implementing Ad Manager that Google may continue to intercept user activity and user data for
26   its own purposes when Incognito mode has been enabled. Indeed, Google represents to consumers
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 1   and Websites alike that it will adhere to its own Privacy Policy.19

 2             D.     Google Collects This Data From Users Even in Incognito Mode
 3             124.   All of the Google data collection, described above, continues to occur when a user

 4   (including Plaintiffs) enters Incognito mode on the user’s Chrome browser software. Specifically,

 5   Google intercepts the communications between the user and the Websites, whenever the user

 6   requests any page from the Website, thereby communicating and requesting a specific URL.

 7   Google then duplicates this communication and causes it to be sent to its own servers, after pairing

 8   the intercepted communications with whatever other data it can collect, so that Google can

 9   generate and profit from targeted advertisements.

10             125.   There is no disclosure or consent associated with this Google interception and data

11   collection, as Google designed its software code to run secretly, without disclosure, and render

12   ineffective users’ efforts to restrict Google’s interception and data collection. Google was never

13   authorized to take and use the information it obtained while users were in Incognito mode, where

14   users revoked any rights Google might otherwise have had to collect such data.

15             126.   Take, for example, someone who visits The New York Times website in private

16   mode with his Google Chrome browser. Even when he is browsing with “private browsing mode”

17   enabled, Google Analytics and Google Ad Manager continue to track his data.                 This is

18   demonstrated by the following screenshot, which is not presented to the user and accessible only

19   by using developer tools:

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          https://policies.google.com/privacy?hl=en.


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            127.    As described above, Google’s secret Javascript code from Google Analytics causes
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     the user to concurrently send to Google not only a duplicated copy of the communications
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     requesting the webpage with the Website but also additional data from the browser, such as
15
     Cookies, browser information and the X-Client-Referrer Header if it is available. And Google’s
16
     Ad Manager not only intercepts the user’s communications with the Websites; it concurrently
17
     combines the duplicated communications as soon as the user loads a webpage, with data from
18
     other Google processes to target the user with advertisements based on the combined information.
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            128.    Thus, even when users are browsing the internet in “private browsing mode,”
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     Google continues to track them, profile them and profit from their data whenever they visit a
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     Website that uses Google Analytics or Google Ad Manager. Google collects precisely the type of
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     private, personal information users wish and expect to protect when they have taken these steps to
23
     control what information is shared with Google. Google’s tracking occurred and continues to
24
     occur no matter how sensitive or personal users’ online activities are.
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26   IV.    Google Creates Profiles On Its Users Using Confidential Information

27          A.      Google’s Business Model Requires Extensive And Continual User Data
                    Collection
28          129.    The core of Google’s business model is targeted advertising. In fact, the bulk of


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 1   Google’s hundreds of billions of dollars in revenue annually come from what companies pay

 2   Google for targeted advertising,20 both on Google Search and on various websites and applications

 3   that use Google services. The more accurately that Google can track and target consumers, the

 4   more advertisers are willing to pay Google’s high advertisement fees and services.

 5          130.    Allowing consumers (including Plaintiffs) control over Google’s data collections

 6   and ad targeting—with an ability to stop Google’s data collections and ad targeting, including

 7   while in a private browsing mode—is actually against Google’s interests and Google’s track record

 8   with regulators worldwide prove that Google is always tempted to play fast and loose with its

 9   obligations and efforts to continue its data collection and ad targeting.

10          131.    Because Google has already collected detailed “profiles” on each user and their

11   devices, Google (with its algorithms, machine learning, and artificial intelligence apparatus) is

12   able to associate the data (collected from users in private browsing mode) with those users’ pre-

13   existing Google “profiles.” Doing so improves the “profiles” and allows Google to sell more

14   targeted ads at those users, among many other uses.

15          B.      Google Creates a User Profile on Each Individual

16          132.    Google strives to build “profiles” on each Plaintiff and each of their devices. These

17   “profiles” contain all the data Google can collect associated with each individual.

18          133.    By tracking, collecting and intercepting users’ (including Plaintiffs’) personal

19   communications indiscriminately—regardless of whether users attempted to avoid such tracking

20   pursuant to Google’s instructions—Google has gained a complete, cradle-to-grave profile of users:

21                  a. In many cases, Google is able to associate the data collected from users in

22                      “private browsing mode” with specific and unique user profiles through Google

23                      Analytics User-ID. Google does this by making use of a combination of the

24                      unique identifier of the user it collects from Websites, and Google Cookies that

25                      it collects across the internet on the same user;

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27   20
       https://www.investopedia.com/articles/investing/020515/business-
28   google.asp#:~:text=Google%20Ads%20and%20Search%20Advertising,results%20generated%2
     0by%20Google's%20algorithm.


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 1                 b. Information collected from Google Cookies, which includes identifying

 2                     information regarding the user from private browsing sessions and non-private

 3                     browsing sessions, across multiple sessions;

 4                 c. Identifying information regarding the consumer from various Google

 5                     fingerprinting technologies that uniquely identify the device, such as X-Client-

 6                     Data Header, GStatic, and Approved Pixels;

 7                 d. Geolocation data that Google collects from concurrent Google processes and

 8                     system information, such as from the Android Operating System; and

 9                 e. The IP address information, which is transmitted to Google’s servers during the

10                     private and non-private browsing sessions. Google correlates and aggregates

11                     all of this information to create profiles on the consumers.

12          C.     Google Analytics Profiles Are Supplemented by the “X-Client-Data Header”
13          134.   Another powerful tool Google uses in building detailed profiles of what may

14   someday be every individual on the planet is the X-Client-Data Header.

15          135.   Google’s Chrome browser identifies every device upon the first installation of

16   Chrome with a unique digital string of characters called Google’s “X-Client-Data Header,” such

17   that Google uniquely identifies the device and user thereafter. Whenever Chrome is used, the

18   Google browser is constantly transmitting this X-Client-Data Header to Google servers.

19   Developer tools confirm this as follows:

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13          136.    Through the X-Client-Data Header, by itself or in combination with other Google
14   identifiers, Google is able to tell whether a user (including Plaintiffs) is in Incognito mode or not.
15   The X-Client Data Header is present in all Chrome-states except when the user is in Incognito
16   mode.21 Developer tools confirm this as follows:
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        Consistent with its historical behavior, Google actually tried to turn on the X-Client-Data
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     Header for users in March 2020, but was called out by Microsoft engineers on technical forums.
25   https://bugs.chromium.org/p/chromium/issues/detail?id=1060744&q=x-client-
     data&can=1&mode=grid&start-date=2020-04-23&end-date=2020-05-23&x=Target. Google
26   thereafter called it a “bug,” and reverted the browser back to not transmitting the identifier when
     the user is in Incognito. As Plaintiffs will prove, however, Google was concurrently representing
27   to the press at this time that Google was not so using the X-Client-Data Header in Incognito,
28   when in fact it was. See, e.g.,
     https://www.theregister.co.uk/2020/03/11/google_personally_identifiable_info/.


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13          137.    The X-Client-Data Header allows Google to track Chrome users across the web,
14   because it remains unchanged even if users “clear their browser cache” of cookies.22
15          138.    Like Cookies, when the X-Client-Data Header is available, Google will
16   concurrently collect this identifier with the duplicated communications it gets from the Websites
17   and browser, to make it near impossible for the consumer to escape Google’s surveillance.
18          139.    Google designed the Chrome browser software to track users, which further renders
19   ineffective users’ efforts to prevent Google’s access to their information and Google’s creation of
20   detailed user profiles for Google’s advertising and profits.
21          D.      Google Identifies You with “Fingerprinting” Techniques
22          140.    Google also builds its profile of users (including Plaintiffs) by “fingerprinting”
23   techniques. Because every device and application installed has small differences, images, digital
24   pixels, and fonts display differently for every device and application, just ever so slightly. By
25   forcing a consumer to display one of its images, pixels, or fonts, online companies such as Google
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27   22
        See Thomas Claburn, Is Chrome Really Secretly Stalking You Across Google Sites Using Per-
28   Install ID Numbers? We Reveal the Truth, THE REGISTER (Feb. 5, 2020),
     https://www.theregister.co.uk/2020/02/05/google_chrome_id_numbers/.


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 1   are able to “fingerprint” their users and consumers across the internet, with or without their

 2   permission.

 3          141.    For example, a large portion of the Websites also use Google’s GStatic, which is a

 4   Google-hosted service for fonts, where Google loads the fonts displayed on the Website, instead

 5   of the Website’s web server. Google sells this service as something that allegedly helps to reduce

 6   bandwidth and improve loading time, because Google is hosting the fonts. Plaintiffs are informed

 7   and believe and on that basis allege that GStatic is an additional way that Google identifies and

 8   tracks consumers, including when consumers are using a private browsing mode.

 9          142.    Google also authorizes Websites to place digital pixels (“Google Approved Pixels”)

10   embedded within the Websites’ code.23 These pixels are typically created and maintained by

11   “approved third parties” (such as comScore, a data broker registered with California’s CCPA data

12   broker registry).

13          143.    Again, when a user’s web browser accesses a website containing a Google

14   Approved Pixels, that browser responds to the pixel by generating a unique display. Each user’s

15   display is unique because it is generated in part, from certain digital signatures that are unique to

16   each specific device (in combination with the browser software running on the device). By

17   tracking these pixels and the unique resulting displays, Google and its data-broker partners are

18   able to track and “measure” consumers across the web.

19          144.    GStatic and Google Approved Pixels enable Google to identify consumers because

20   the way the fonts and pixels are displayed on the browser help to uniquely identify whom the user

21   is. This again is another set of data surreptitiously collected by Google vis-à-vis the consumer’s

22   browser which is added to the duplicated communications between the user and Websites, which

23   Google collects concurrent with the user’s communications with the Website even when users are

24   in a private browsing mode.

25          E.      Google Identifies You With Your System Data and Geolocation Data
26          145.    Google also collects additional system data and geolocation data from (a) the

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28     See, e.g., USE TRACKING PIXELS, https://support.google.com/news/publisher-
     center/answer/9603438?hl=en, describing partnership with comScore.


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 1   Android operating system running on users’ phones or tablets and (b) Google applications running

 2   on phones (e.g., Chrome and Maps), Google Assistant, Google Home, and other Google

 3   applications and services.

 4          146.    Google collects information for its user profiles (including Plaintiffs) by making

 5   use of (a) the Android operating system, which Google created and makes available for smart

 6   phones, and (b) various Google applications that run on mobile devices. In a 2018 white paper

 7   entitled “Google Data Collection,”24 Professor Douglas C. Schmidt of Vanderbilt University

 8   concluded that Google’s Android operating system, and several of Google’s mobile applications,

 9   are constantly sending system and location data to Google’s servers. Specifically, Professor

10   Schmidt wrote:

11                  Both Android and Chrome send data to Google even in the absence
                    of any user interaction. Our experiments show that a dormant,
12                  stationary Android phone (with Chrome active in the background)
                    communicated location information to Google 340 times during a
13                  24-hour period, or at an average of 14 data communications per
                    hour. In fact, location information constituted 35% of all the data
14                  samples sent to Google.
15   Indeed, now that Google has acquired Nest and merged Nest’s data with data obtained via Google

16   Home, Professor Schmidt’s analysis regarding Google’s ability to identify and track who and

17   where we are is even more persistent and pernicious.

18          147.    When any user of a Nest or Google Home product is running a Nest or Google

19   Home application, concurrent with Google Assistant, Google is using the data collected from those

20   processes to target users for advertisements. To optimize those advertisements, Google collects

21   the user’s geolocation.

22          148.    Because Google Assistant and other Google applications are constantly tracking

23   your geolocation, Google knows exactly who you are, regardless of whether you are in “private

24   browsing mode” on the web, and Google is collecting and profiting from that personal user data.

25          149.    In a Wired article regarding Google’s privacy practices, Professor Schmidt stated

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27   24
        Douglas C. Schmidt, Google Data Collection, DIGITAL CONTENT NEXT 1 (Aug. 15, 2018),
28   https://digitalcontentnext.org/wp-content/uploads/2018/08/DCN-Google-Data-Collection-
     Paper.pdf.


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 1   that Google’s “business model is to collect as much data about you as possible and cross-correlate

 2   it so they can try to link your online persona with your offline persona. This tracking is just

 3   absolutely essential to their business. ‘Surveillance capitalism’ is a perfect phrase for it.”25 By

 4   collecting increasing amounts of user data, Google is able to leverage such data to grow its third-

 5   party advertising business and profit.

 6          150.    Plaintiffs are informed and believe that all of this Google data collection happens

 7   even when a consumer is in the web browser’s “private browsing mode.” Indeed, the Arizona

 8   Attorney General alleged that Google deceptively tracks users based on various sources of location

 9   data, overriding consumer privacy controls and preferences.26

10          151.    Plaintiffs are informed and believe that Google has contended in private industry

11   conversations and in internal meetings and documents, that such surreptitious data collection is

12   permissible, as it “aggregates the data” after the data has already been intercepted, collected,

13   reviewed, and analyzed by Google. Even if that contention were true, that would not excuse

14   Google’s unlawful interceptions of data from users in “private browsing mode.”

15          152.    Plaintiffs are informed and believe that Google has also claimed in private industry

16   conversations and in internal meetings and documents that its data collection practices are

17   acceptable and not impermissible interceptions of communications, because Google is “acting on

18   behalf of the website(s)”, as their vendor. This contention is untrue. As the chart above indicates,

19   Google’s secret embedded code causes the user data to be sent directly to Google’s servers in

20   California. Google then treats that user data as Google’s own property, which Google may use or

21   sell as it pleases. Indeed, for a website to get access to the data that Google has collected using

22   the embedded code running on that website, the website’s publisher must pay a premium price to

23   Google.

24   V.     Google Profits from Its Surreptitious Collection of User Data
25          153.    Google’s continuous tracking of users is no accident. Google is one of the largest

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     25
        Lily Hay Newman, The Privacy Battle to Save Google from Itself, WIRED (Nov. 1, 2018),
27   https://www.wired.com/story/google-privacy-data/.
     26
28      See Complaint, Arizona v. Google LLC, Arizona Sup. Ct. Case No. 2020-006219 (May 27,
     2020).


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 1   technology companies in the world. Google LLC and its parent Alphabet Inc. have over 1.8 billion

 2   active account users, and Alphabet Inc. boasts a net worth exceeding $1.5 trillion.

 3          154.    Google’s enormous financial success results from its unparalleled tracking and

 4   collection of personal and sensitive user information (including Plaintiffs’) and selling and

 5   brokering of that user information to optimize advertisement services. Recently, virtually all of

 6   Google’s revenue was attributable to third party advertising and it is continuously driven to find new

 7   and creative ways to leverage its access to users’ data in order to sustain its phenomenal growth.

 8          155.    Google profits from the data it collects—including the user data collected while

 9   users are in a private browsing mode—in at least three ways. First, Google associates the

10   confidential communications and data with a user profile or profiles, to enrich Google’s ability to

11   charge its customers for advertisement-related services. Second, Google later uses the intercepted

12   confidential communications and user data (in combination with the user’s profile) to direct

13   targeted advertisements to consumers (including Plaintiffs). Third, Google uses the results to

14   improve Google’s own algorithms and technology, such as Google Search.

15          156.    The data Google collects contains consumers’ personal viewing information.

16   Google collects, reads, analyzes the contents of, and organizes this data based on consumers’ prior

17   histories. Google creates “profiles” for each individual user and/or each individual device that

18   accesses the Internet. Google seeks to associate as much information as possible with each profile

19   because, by doing so, Google can profit from Google’s ad-targeting services.

20          157.    For example, Plaintiffs are informed and believe and on that basis allege, that

21   Google often demands that websites pay for significant and expensive upgrades (e.g., such as to

22   Google’s DV360) in order for the Websites to obtain access to specific visitor information. That

23   Google holds such detailed information regarding visitors hostage is proof that Google collects

24   consumer information on Websites primarily for its own use and profit.

25          158.    Likewise, Google Ad Manager is a service that generates targeted advertisements

26   to be displayed alongside third-party websites’ content. The user profiles, which Google creates

27   and maintains using the collected user data, are used by Google’s algorithms to select which ads

28   to display through Google.



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 1          159.    Google is paid for these advertisements by the third-party advertisers. Google is

 2   able to demand high prices for these targeted-advertising services because Google is able to use

 3   user profiles (including data that Google obtained from users while in “private browsing” mode)

 4   to select and display advertisements targeted at those specific profiles.

 5          160.    Plaintiffs are informed and believe that Google also benefits by using the data it

 6   collects to improve and refine existing Google products, services, and algorithms and also to

 7   develop new products, services and algorithms. This collection, usage, or monetization of user

 8   data contravenes the steps Plaintiffs have taken to try to control their information from being

 9   tracked or used by Google in any way, for Google’s own profits.

10          161.    Google market power in Search is entirely dependent on its ability to track what

11   consumers are doing. The trackers that Google has across the internet not only tell Google where

12   consumers go subsequent to searching on Google Search, the trackers allow Google to track what

13   websites are popular and how often they are visited. By compiling not just consumer profiles, but

14   surveying human behavior across the vast majority of web browser activity, Google is able to

15   create a better and more effective search product as compared to its competitors, by its ability to

16   claim that Google knows how to best rank websites and online properties, because Google can

17   track consumer activity better than anyone else. Google Search would not be nearly as effective

18   of a search tool without Google Analytics as a complement.

19          162.    Google profits from users by acquiring their sensitive and valuable personal

20   information, which includes far more than mere demographic information and volunteered personal

21   information like name, birth date, gender and email address. More importantly, when consumers

22   use Google, Google secretly plants numerous tracking mechanisms on users’ computers and web-

23   browsers, which allow Google to track users’ browsing histories and correlate them with user,

24   device, and browser IDs, rendering ineffective users’ efforts to prevent access to their data.

25          163.    The information Google tracks has and had massive economic value. This value is

26   well understood in the e-commerce industry, and personal information is now viewed as a form of

27   currency.

28          164.    Well before the Brown Lawsuit, there was a growing consensus that consumers’



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 1   sensitive and valuable personal information would become the new frontier of financial exploit.

 2          165.   Professor Paul M. Schwartz noted in the Harvard Law Review:

 3                 Personal information is an important currency in the new
                   millennium. The monetary value of personal data is large and still
 4
                   growing, and corporate America is moving quickly to profit from
 5                 the trend. Companies view this information as a corporate asset and
                   have invested heavily in software that facilitates the collection of
 6                 consumer information.27
 7          166.   Likewise, in The Wall Street Journal, former fellow at the Open Society Institute

 8   (and current principal technologist at the ACLU) Christopher Soghoian noted:

 9                 The dirty secret of the Web is that the “free” content and services that
10                 consumers enjoy come with a hidden price: their own private data.
                   Many of the major online advertising companies are not interested in
11                 the data that we knowingly and willingly share. Instead, these
                   parasitic firms covertly track our web-browsing activities, search
12                 behavior and geolocation information. Once collected, this mountain
                   of data is analyzed to build digital dossiers on millions of consumers,
13                 in some cases identifying us by name, gender, age as well as the
14                 medical conditions and political issues we have researched online.

15                 Although we now regularly trade our most private information for
                   access to social-networking sites and free content, the terms of this
16                 exchange were never clearly communicated to consumers.28
17          167.   The cash value of the personal user information unlawfully collected by Google

18   can be quantified. For example, in a study authored by Tim Morey, researchers studied the value

19   that 180 internet users placed on keeping personal data secure.29 Contact information of the sort

20   that Google requires was valued by the study participants at approximately $4.20 per year.

21   Demographic information was valued at approximately $3.00 per year. However, web browsing

22   histories were valued at a much higher rate: $52.00 per year. The chart below summarizes the

23   findings:

24
     27
25      Paul M. Schwartz, Property, Privacy and Personal Data, 117 HARV. L. REV. 2055,
     2056–57 (2004).
26   28
        Julia Angwin, How Much Should People Worry About the Loss of Online Privacy?, THE WALL
     STREET JOURNAL (Nov. 15, 2011).
27   29
        Tim Morey, What’s Your Personal Data Worth?, DESIGN MIND (Jan. 18, 2011),
28   https://web.archive.org/web/20131206000037/http://designmind.frogdesign.com/blog/what039s-
     your-personal-data-worth.html.


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            168.    Similarly, the value of user-correlated internet browsing history can be quantified,
10
     because Google itself was willing to pay users for the exact type of communications that Google
11
     illegally intercepted from Plaintiffs. For example, Google Inc. had a panel (and still has one today)
12
     called “Google Screenwise Trends” which, according to the internet giant, is designed “to learn
13
     more about how everyday people use the Internet.”
14
            169.    Upon becoming a panelist, internet users would add a browser extension that shares
15
     with Google the sites they visit and how they use them. The panelists consented to Google tracking
16
     such information for three months in exchange for one of a number of “gifts,” including gift cards
17
     to retailers such as Barnes & Noble, Walmart, and Overstock.com.
18
            170.    After three months, Google also agreed to pay panelists additional gift cards “for
19
     staying with” the panel. These gift cards, mostly valued at exactly $5, demonstrated conclusively
20
     that internet industry participants understood the enormous value in internet users’ browsing
21
     habits. Google has paid Screenwise panelists up to $3 per week to be tracked.
22
            171.    As demonstrated above, user-correlated URLs have monetary value. They also
23
     have non-monetary, privacy value. For example, in a recent study by the Pew Research Center,
24
     93% of Americans said it was “important” for them to be “in control of who can get information”
25
     about them. Seventy-four percent said it was “very important.” Eighty-seven percent of Americans
26
     said it was “important” for them not to have someone watch or listen to them without their
27
     permission. Sixty-seven percent said it was “very important.” And 90% of Americans said it was
28



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 1   “important” that they be able to “control[] what information is collected about [them].” Sixty-five

 2   percent said it was very important.

 3          172.    Likewise, in a 2011 Harris Poll study, 76% of Americans agreed that “online

 4   companies, such as Google or Facebook, control too much of our personal information and know

 5   too much about our browsing habits.”

 6          173.    Consumers’ sensitive and valuable personal information increased as a commodity,

 7   where Google itself began paying users specifically for their browsing data.30 As early as 2012

 8   Google publicly admitted it utilized consumers’ browsing data, paired with other sensitive and

 9   valuable personal information, to achieve what it called “nowcasting,” or “contemporaneous

10   forecasting,” which Google’s Chief Economist Hal Varian equated to the ability to predict what is

11   happening as it occurs.31

12          174.    As the thirst grew for sensitive, personal information,32 it became readily apparent

13   that the world’s most valuable resource was no longer oil, but instead consumers’ data in the form

14   of their sensitive, personal information.33

15          175.    A number of platforms have appeared where consumers can and do directly

16   monetize their own data, and prevent tech companies from targeting them absent their express

17

18
     30
        Jack Marshall, Google Pays Users for Browsing Data, DigiDay (Feb. 10, 2012),
19   https://digiday.com/media/google-pays-users-for-browsing-data/
     31
        K.N.C., Questioning the searches, The Economist (June 13, 2012),
20
     https://www.economist.com/schumpeter/2012/06/13/questioning-the-searchers
     32
21      Exploring the Economic of Personal Data: A Survey of Methodologies for Measuring
     Monetary Value, OECD Digital Economy Paper No. 220 at 7 (Apr. 2, 2013),
22   http://dx.doi.org/10.1787/5k486qtxldmq-en; Supporting Investment in Knowledge Capital,
     Growth and Innovation, OECD, at 319 (Oct. 13, 2013),
23   https://www.oecd.org/sti/inno/newsourcesofgrowthknowledge-basedcapital.htm; Pauline
     Glickman and Nicolas Glady, What’s the Value of Your Data? TechCrunch (Oct. 13, 2015)
24
     https://techcrunch.com/2015/10/13/whats-the-value-of-your-data/; Paul Lewis and Paul Hilder,
25   Former Cambridge Analytica exec says she wants lies to stop, The Guardian (March 23, 2018)
     https://www.theguardian.com/uk-news/2018/mar/23/former-cambridge-analytica-executive-
26   brittany-kaiser-wants-to-stop-lies; Shoshanna Zuboff, The Age of Surveillance Capitalism 166
     (2019).
27   33
        The world’s most valuable resource is no longer oil, but data, The Economist (May 6, 2017),
28   https://www.economist.com/leaders/2017/05/06/the-worlds-most-valuable-resource-is-no-
     longer-oil-but-data.


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 1   consent:

 2                  a.     Brave’s web browser, for example, will pay users to watch online targeted

 3                         ads, while blocking out everything else.34

 4                  b.     Loginhood states that it “lets individuals earn rewards for their data and

 5                         provides website owners with privacy tools for site visitors to control their

 6                         data sharing,” via a “consent manager” that blocks ads and tracking on

 7                         browsers as a plugin.35

 8                  c.     Ex-presidential candidate Andrew Yang’s “Data Dividend Project” aims to

 9                         help consumers, “[t]ake control of your personal data. If companies are

10                         profiting from it, you should get paid for it.”36

11                  d.     Killi is a data exchange platform that allows you to own and earn from your

12                         data.37

13                  e.     Similarly, BIGtoken “is a platform to own and earn from your data. You

14                         can use the BIGtoken application to manage your digital data and identity

15                         and earn rewards when your data is purchased.”38

16                  f.     The Nielsen Company, famous for tracking the behavior of television

17                         viewers’ habits, has extended their reach to computers and mobile devices

18

19   34
        Get Paid to Watch Ads in the Brave Web Browser, at: https://lifehacker.com/get-paid-to-
     watch-ads-in-the-brave-web-browser-1834332279#:~:text=Brave%2C%20a%20chromium-
20
     based%20web%20browser%20that%20boasts%20an,a%20more%20thoughtful%20way%20than
21   %20we%E2%80%99re%20accustomed%20to (Lifehacker, April 26, 2019) (“The model is
     entirely opt-in, meaning that ads will be disable by default. The ads you view will be converted
22   into Brave’s cryptocurrency, Basic Attention Tokens (BAT), paid out to your Brave wallet
     monthly”).
23   35
        https://loginhood.io/. See also, https://loginhood.io/product/chrome-extension (“[s]tart earning
     rewards for sharing data – and block others that have been spying on you. Win-win.”).
24   36
        How Does It Work, at: https://www.datadividendproject.com/ (“Get Your Data
25   Dividend…We’ll send you $$$ as we negotiate with companies to compensate you for using
     your personal data.”).
26   37
        https://killi.io/earn/.
     38
        https://bigtoken.com/faq#general_0 (“Third-party applications and sites access BIGtoken to
27   learn more about their consumers and earn revenue from data sales made through their platforms.
28   Our BIG promise: all data acquisition is secure and transparent, with consumers made fully
     aware of how their data is used and who has access to it.”).


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 1                         through Nielsen Computer and Mobile Panel. By installing the application

 2                         on your computer, phone, tablet, e-reader, or other mobile device, Nielsen

 3                         tracks your activity, enters you into sweepstakes with monetary benefits,

 4                         and earn points worth up to $50 per month.39

 5          176.    Technology companies recognize the monetary value of users’ sensitive, personal

 6   information, insofar as they encourage users to install applications explicitly for the purpose of

 7   selling that information to technology companies in exchange for monetary benefits.40

 8          177.    The CCPA recognizes that consumers’ personal data is a property right. Not only

 9   does the CCPA prohibit covered businesses from discriminating against consumers that opt-out of

10   data collection, the CCPA also expressly provides that: “[a] business may offer financial

11   incentives, including payments to consumers as compensation, for the collection of personal

12   information, the sale of personal information, or the deletion of personal information.” Cal. Civ.

13   Code § 1798.125(b)(1). The CCPA provides that, “[a] business shall not use financial incentive

14   practices that are unjust, unreasonable, coercive, or usurious in nature.” Cal. Civ. Code §

15   1798.125(b)(4).

16          178.    Through its false representations and unlawful data collection, Google is unjustly

17   enriching itself at the cost of consumer choice, when the consumer would otherwise have the

18   ability to choose how they would monetize their own data.

19   VI.    Tolling of the Statute of Limitations
20          179.    Any applicable statutes of limitations have been tolled under (1) the fraudulent

21   concealment doctrine, based on Google’s knowing and active concealment and denial of the facts

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23   39
        Kevin Mercandante, Ten Apps for Selling Your Data for Cash, Best Wallet Hacks (June 10,
     2020), https://wallethacks.com/apps-for-selling-your-data/.
24   40
        Kari Paul, Google launches app that will pay users for their data, The Guardian (June 11,
25   2019), https://www.theguardian.com/technology/2019/jun/11/facebook-user-data-app-privacy-
     study; Saheli Roy Choudhury and Ryan Browne, Facebook pays teens to install an app that
26   could collect all kinds of data, CNBC (Jan. 30, 2019),
     https://www.cnbc.com/2019/01/29/facebook-paying-users-to-install-app-to-collect-data-
27   techcrunch.html; Jay Peters, Facebook will now pay you for your voice recordings, The Verge
28   (Feb. 20, 2020), https://www.theverge.com/2020/2/20/21145584/facebook-pay-record-voice-
     speech-recognition-viewpoints-proununciations-app.


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 1   alleged herein, (2) the delayed discovery doctrine, as Plaintiffs did not and could not reasonably

 2   have discovered Google’s conduct alleged herein until shortly before the Complaint was filed, (3)

 3   the Brown Lawsuit, and the assertion there of Plaintiffs’ claims, and (4) the terms of the tolling

 4   agreement entered into between Plaintiffs (and others) and Google, along with all amendments to

 5   that tolling agreement, which expressly tolled the statute of limitations for these claims through

 6   the termination of that agreement (and with the filing of this complaint)

 7            180.    Google repeatedly and falsely represented that its users (including Plaintiffs) could

 8   prevent Google from tracking users and collecting their information, such as by using a browser

 9   in “private browsing mode” (including Incognito mode).

10            181.    Google never disclosed that it would continue to track users and collect their data

11   once these steps were performed, nor did Google ever admit that it would still attempt to collect,

12   aggregate, and analyze user data so that it can continue to track individual users even when the

13   user has followed Google’s instructions on how to browse privately.

14            182.    Google also further misled users (including Plaintiffs) by indicating that data

15   associated with them would be viewable through their account, but Google did not include the user

16   data at issue in this lawsuit (collected while in a private browser mode) in user accounts. Google’s

17   failure to do so is part of Google’s active deception and concealment.

18            183.    Google has also made the following statements, which (1) misrepresent material

19   facts about Google’s interception and use of users’ data in Incognito mode and/or (2) omit to state

20   material facts necessary to make the statements not misleading. Google thereby took affirmative

21   steps to mislead Plaintiffs and other users about the privacy of their data when using private

22   browsing modes like Incognito.

23                •   On September 23, 2014, Google Chairman Eric Schmidt stated during an ABC

24                    interview that in Incognito “no one sees anything about you.”41

25                •   On December 12, 2014, Google Chairman Eric Schmidt stated during a CATO

26                    interview that Incognito is browsing “where no information of any kind is

27

28   41
          https://abcnews.go.com/Business/video/eric-schmidts-message-tim-cook-25701453


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 1                 retained about what you’re doing.”42

 2             •   On September 27, 2016, Google Director of Product Management Unni Narayana

 3                 published an article in which he wrote that Google was giving users “more control

 4                 with incognito mode” and stated: “Your searches are your business. That’s why

 5                 we’ve added the ability to search privately with incognito mode in the Google app

 6                 for iOS. When you have incognito mode turned on in your settings, your search

 7                 and browsing history will not be saved.”43

 8             •   On September 8, 2017, Google Product Manager Greg Fair posted an article titled

 9                 “Improving our privacy controls with a new Google Dashboard” in which he

10                 touted how Google has “[p]owerful privacy controls that work for you” and

11                 emphasizing how users had “control” over their information and tools “for

12                 controlling your data across Google.”44

13             •   On May 25, 2018, Google updated its Privacy Policy to state that users are “in

14                 control” and “can also choose to browse the web privately using Chrome in

15                 Incognito mode.”45

16             •   On June 21, 2018, Google Product Manager Jon Hannemann posted an article

17                 titled “More transparency and control in your Google Account” in which he

18                 wrote: “For years, we’ve built and refined tools to help you easily understand,

19                 protect and control your information. As needs around security and privacy

20                 evolve, we will continue to improve these important tools to help you control how

21                 Google works for you.”46

22             •   In December 2018, Google CEO Sundar Pichai testified publicly, to Congress,

23                 that “For Google services, you have a choice of what information is collected, and

24
     42
25      https://www.cato.org/events/2014-cato-institute-surveillance-conference
     43
        https://blog.google/products/search/the-latest-updates-and-improvements-for/.
26   44
        https://www.blog.google/topics/safety-security/improving-our-privacy-controls-new-google-
     dashboard/.
27   45
        https://policies.google.com/privacy/archive/20171218-20180525?hl=en-US.
     46
28      https://blog.google/technology/safety-security/more-transparency-and-control-your-google-
     account/.


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 1                 we make it transparent.” He stated that uses “can decide whether that information

 2                 is collected” and stored and “clearly see what information we have.”47

 3             •   On May 7, 2019, the New York Times published an opinion piece by Google

 4                 CEO Sundar Pichai in which he represented that it is “vital for companies to give

 5                 people clear, individual choices around how their data is used” and that Google

 6                 focuses on “features that make privacy a reality — for everyone.” He specifically

 7                 referenced Incognito, stating: “For example, we recently brought Incognito mode,

 8                 the popular feature in Chrome that lets you browse the web without linking any

 9                 activity to you, to YouTube.” He continued: “To make privacy real, we give you

10                 clear, meaningful choices around your data.”48

11             •   On May 7, 2019, during Google’s annual I/O conference, Google CEO Sundar

12                 Pichai represented that Google’s products are “built on a foundation of user trust

13                 and privacy” and ensuring “that people have clear, meaningful choices around

14                 their data.” He specifically referenced Incognito mode in Chrome, stating that

15                 Google was bringing Incognito mode to Google Maps: “While in Incognito in

16                 Maps, your activity, like the places you search and navigate to, won’t be linked to

17                 your account.”49

18             •   On October 2, 2019, Google Director of Product Management, Privacy and Data

19                 Protection Office Eric Miraglia published an article titled “Keeping privacy and

20                 security simple, for you” in which he touted Google’s decision to add Incognito

21                 mode to Google Maps, stating: “When you turn on Incognito mode in Maps, your

22                 Maps activity on that device, like the places you search for, won’t be saved to

23                 your Google Account and won’t be used to personalize your Maps experience.”50

24             •   On December 19, 2019, Google Vice President of Product Privacy Rahul Roy-

25
     47
        https://techcrunch.com/2018/12/11/google-ceo-sundar-pichai-thinks-android-users-know-how-
26   much-their-phones-are-tracking-them/.
     48
        https://www.nytimes.com/2019/05/07/opinion/google-sundar-pichai-privacy.html.
27   49
        https://singjupost.com/sundar-pichai-at-google-i-o-2019-keynote-full-
28   transcript/?singlepage=1.
     50
        https://blog.google/technology/safety-security/keeping-privacy-and-security-simple-you/.


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 1                  Chowdhury published an article titled “Putting you in control: our work in privacy

 2                  this year” in which he noted that Google had “expanded incognito mode across all

 3                  our apps” as an example of Google’s “tools to give you control over your data.”51

 4              •   On January 28, 2020, Google Vice President of Product Privacy Rahul Roy-

 5                  Chowdhury published an article titled “Data Privacy Day: seven ways we protect

 6                  your privacy” in which he identified Incognito mode as one of the ways Google

 7                  keeps “you in control of your privacy” and touted how “Incognito mode has been

 8                  one of our most popular privacy controls since it launched with Chrome in

 9                  2008.”52

10              •   On or about July 29, 2020, Google submitted written remarks to Congress for

11                  testimony by its current CEO Sundar Pichai (who helped develop Google’s

12                  Chrome browser), which stated: “I’ve always believed that privacy is a universal

13                  right and should be available to everyone and Google is committed to keeping

14                  your information safe, treating it responsibly and putting you in control of what

15                  you choose to share.”53

16          184.    The above Google representations were false. Google did not provide users with

17   control and permit them to browse privately, and Google instead continued to intercept users’

18   communications and collect user data while users were in a private browsing mode such as

19   Incognito. These Google representations, at a minimum, omitted material facts that would be

20   necessary to make the statements made not misleading, as they left the false impression that Google

21   did not intercept and collect users’ data while they were in private browsing mode.

22          185.    Moreover, Google’s labeling of the relevant product as “Incognito” mode and

23   “private” is, in and of itself, misleading absent clear disclosures about the ways in which Google

24   intercepts and uses users’ private data.

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26   51
        https://blog.google/technology/safety-security/putting-you-in-control-privacy-2019/.
     52
        https://blog.google/technology/safety-security/data-privacy-day-seven-ways-we-protect-your-
27   privacy/.
     53
28      https://docs.house.gov/meetings/JU/JU05/20200729/110883/HHRG-116-JU05-Wstate-
     PichaiS-20200729.pdf.


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 1          186.    Plaintiffs relied upon Google’s false and misleading representations and omissions

 2   that they controlled use of their data through private browsing modes such as Incognito and, based

 3   on those misrepresentations, believed that Google was not intercepting and using their private data

 4   when they were in such private browsing modes.

 5          187.    Plaintiffs did not discover that Google was intercepting and using their data in the

 6   ways set forth in this Complaint until shortly before this Complaint was filed. They also could not

 7   have reasonably discovered Google’s unlawful conduct where some of Google’s unlawful conduct

 8   (e.g., Google’s development and use of detection bits) only became known after the Brown

 9   Lawsuit was filed.

10          188.    Indeed, even after the Brown Lawsuit was filed, Google made other misleading

11   public statements about its data interception and collection practices. For example, Google

12   spokesperson Jose Castaneda was quoted in articles published in June 2020 stating: “Incognito

13   mode in Chrome gives you the choice to browse the internet without your activity being saved to

14   your browser or device. As we clearly state each time you open a new incognito tab, websites

15   might be able to collect information about your browsing activity during your session.” Once

16   again, Google left the misleading impression that users’ data was not being intercepted and

17   collected without their knowledge and omitted to disclose the ways in which Google actually

18   intercepts and uses user data in private browsing sessions.

19          189.    Additional information regarding Google’s illegal misconduct only became

20   available through the Brown Lawsuit, where Google continued to make misrepresentations

21   regarding Incognito during the course of the Brown Lawsuit. For example, as detailed in the two

22   publicly-available orders sanctioning Google for discovery misconduct, Google concealed

23   information, including regarding Google’s efforts to detect Incognito browsing using certain

24   heuristics and detection bits. Google also made representations that were inaccurate concerning

25   how private browsing data is logged by Google.

26          190.    Plaintiffs exercised reasonable diligence to protect their data from interception.

27   Indeed, that is precisely the reason why they used Google’s “Incognito” mode. They did not

28   discover their claims until consulting with counsel shortly before the filing of this Complaint.



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 1          191.    Although the Brown court denied without prejudice Federal Rule of Civil Procedure

 2   23(b)(3) certification, it certified two classes under Federal Rule of Civil Procedure 23(b)(2). In

 3   addition, the Brown court is still evaluating whether to grant issue certification under Federal Rule

 4   of Civil Procedure 23(c)(4), which was concurrently applied for with the 23(b)-certifications. All

 5   claims asserted in this Complaint were also asserted in the Brown Lawsuit, and the claims for

 6   damages here are all based on facts alleged in the Brown Lawsuit, largely unchanged since the

 7   Brown plaintiffs filed the original complaint on June 2, 2020. Google has, therefore, been on

 8   notice for over three years of the specific factual allegations made in this Complaint and bringing

 9   this action. Plaintiffs clearly bring these claims in good faith.

10            FACTUAL ALLEGATIONS REGARDING THE NAMED PLAINTIFFS
11          192.    Plaintiff Luna is an adult domiciled in CA and has an active Google account and

12   had an active Google account at all relevant times hereto.

13          193.    Plaintiff Luna accessed the internet and sent and received communications with

14   Websites on several computing devices that were not shared devices, including using Incognito

15   mode in Chrome to visit non-Google websites without being signed into any Google account.

16          194.    Although Plaintiff Luna did not know it at that time, Plaintiff Luna is now informed

17   and believes that Google was still tracking Plaintiff Luna, via various software and services,

18   without consent or authorization.

19          195.    Google thereby tracked Plaintiff Luna and intercepted Plaintiff Luna’s

20   communications with Websites without consent or authorization. Many of these requests were

21   URL requests that revealed what Plaintiff Luna viewed and when.

22          196.    Unlike these other websites that ask for permission to sell data in exchange for

23   consideration, Google never asked for Plaintiff Luna’s permission and instead impermissibly

24   intercepted Plaintiff Luna’s communications with Websites, and sells information gleaned from

25   such communications. Google’s practices irreparably damage Plaintiff Luna’s privacy and ability

26   to control Plaintiff Luna’s own personal rights and data.

27          197.    Plaintiff Massie is an adult domiciled in CA and has an active Google account and

28   had an active Google account at all relevant times hereto.



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 1          198.    Plaintiff Massie accessed the internet and sent and received communications with

 2   Websites on several computing devices that were not shared devices, including using Incognito

 3   mode in Chrome to visit non-Google websites without being signed into any Google account.

 4          199.    Although Plaintiff Massie did not know it at that time, Plaintiff Massie is now

 5   informed and believes that Google was still tracking Plaintiff Massie, via various software and

 6   services, without consent or authorization.

 7          200.    Google thereby tracked Plaintiff Massie and intercepted Plaintiff Massie’s

 8   communications with Websites without consent or authorization. Many of these requests were

 9   URL requests that revealed what Plaintiff Massie viewed and when.

10          201.    Unlike these other websites that ask for permission to sell data in exchange for

11   consideration, Google never asked for Plaintiff Massie’s permission and instead impermissibly

12   intercepted Plaintiff Massie’s communications with Websites, and sells information gleaned from

13   such communications. Google’s practices irreparably damage Plaintiff Massie’s privacy and

14   ability to control Plaintiff Massie’s own personal rights and data.

15          202.    Plaintiff Westbrook is an adult domiciled in CA and has an active Google account

16   and had an active Google account at all relevant times hereto.

17          203.    Plaintiff Westbrook accessed the internet and sent and received communications

18   with Websites on several computing devices that were not shared devices, including using

19   Incognito mode in Chrome to visit non-Google websites without being signed into any Google

20   account.

21          204.    Although Plaintiff Westbrook did not know it at that time, Plaintiff Westbrook is

22   now informed and believes that Google was still tracking Plaintiff Westbrook, via various software

23   and services, without consent or authorization.

24          205.    Google thereby tracked Plaintiff Westbrook and intercepted Plaintiff Westbrook’s

25   communications with Websites without consent or authorization. Many of these requests were

26   URL requests that revealed what Plaintiff Westbrook viewed and when.

27          206.    Unlike these other websites that ask for permission to sell data in exchange for

28   consideration, Google never asked for Plaintiff Nico Westbrook’s permission and instead



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 1   impermissibly intercepted Plaintiff Westbrook’s communications with Websites, and sells

 2   information gleaned from such communications. Google’s practices irreparably damage Plaintiff

 3   Westbrook’s privacy and ability to control Plaintiff Westbrook’s own personal rights and data.

 4          207.    Plaintiff Daniels is an adult domiciled in CA and has an active Google account and

 5   had an active Google account at all relevant times hereto.

 6          208.    Plaintiff Daniels accessed the internet and sent and received communications with

 7   Websites on several computing devices that were not shared devices, including using Incognito

 8   mode in Chrome to visit non-Google websites without being signed into any Google account.

 9          209.    Although Plaintiff Daniels did not know it at that time, Plaintiff Daniels is now

10   informed and believes that Google was still tracking Plaintiff Daniels, via various software and

11   services, without consent or authorization.

12          210.    Google thereby tracked Plaintiff Daniels and intercepted Plaintiff Daniels’s

13   communications with Websites without consent or authorization. Many of these requests were

14   URL requests that revealed what Plaintiff Daniels viewed and when.

15          211.    Unlike these other websites that ask for permission to sell data in exchange for

16   consideration, Google never asked for Plaintiff Daniels’s permission and instead impermissibly

17   intercepted Plaintiff Daniels’s communications with Websites, and sells information gleaned from

18   such communications. Google’s practices irreparably damage Plaintiff Daniels’s privacy and

19   ability to control Plaintiff Daniels’s own personal rights and data.

20          212.    Plaintiff Sonza is an adult domiciled in CA and has an active Google account and

21   had an active Google account at all relevant times hereto.

22          213.    Plaintiff Sonza accessed the internet and sent and received communications with

23   Websites on several computing devices that were not shared devices, including using Incognito

24   mode in Chrome to visit non-Google websites without being signed into any Google account.

25          214.    Although Plaintiff Sonza did not know it at that time, Plaintiff Sonza is now

26   informed and believes that Google was still tracking Plaintiff Sonza, via various software and

27   services, without consent or authorization.

28          215.    Google thereby tracked Plaintiff Sonza and intercepted Plaintiff Sonza’s



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 1   communications with Websites without consent or authorization. Many of these requests were

 2   URL requests that revealed what Plaintiff Sonza viewed and when.

 3          216.    Unlike these other websites that ask for permission to sell data in exchange for

 4   consideration, Google never asked for Plaintiff Sonza’s permission and instead impermissibly

 5   intercepted Plaintiff Sonza’s communications with Websites, and sells information gleaned from

 6   such communications. Google’s practices irreparably damage Plaintiff Sonza’s privacy and ability

 7   to control Plaintiff Sonza’s own personal rights and data.

 8          217.    Plaintiff Jackson is an adult domiciled in CA and has an active Google account and

 9   had an active Google account at all relevant times hereto.

10          218.    Plaintiff Jackson accessed the internet and sent and received communications with

11   Websites on several computing devices that were not shared devices, including using Incognito

12   mode in Chrome to visit non-Google websites without being signed into any Google account.

13          219.    Although Plaintiff Jackson did not know it at that time, Plaintiff Jackson is now

14   informed and believes that Google was still tracking Plaintiff Jackson, via various software and

15   services, without consent or authorization.

16          220.    Google thereby tracked Plaintiff Jackson and intercepted Plaintiff Jackson’s

17   communications with Websites without consent or authorization. Many of these requests were

18   URL requests that revealed what Plaintiff Jackson viewed and when.

19          221.    Unlike these other websites that ask for permission to sell data in exchange for

20   consideration, Google never asked for Plaintiff Jackson’s permission and instead impermissibly

21   intercepted Plaintiff Jackson’s communications with Websites, and sells information gleaned from

22   such communications. Google’s practices irreparably damage Plaintiff Jackson’s privacy and

23   ability to control Plaintiff Jackson’s own personal rights and data.

24          222.    Plaintiff Russell is an adult domiciled in CA and has an active Google account and

25   had an active Google account at all relevant times hereto.

26          223.    Plaintiff Russell accessed the internet and sent and received communications with

27   Websites on several computing devices that were not shared devices, including using Incognito

28   mode in Chrome to visit non-Google websites without being signed into any Google account.



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 1          224.    Although Plaintiff Russell did not know it at that time, Plaintiff Russell is now

 2   informed and believes that Google was still tracking Plaintiff Russell, via various software and

 3   services, without consent or authorization.

 4          225.    Google thereby tracked Plaintiff Russell and intercepted Plaintiff Russell’s

 5   communications with Websites without consent or authorization. Many of these requests were

 6   URL requests that revealed what Plaintiff Russell viewed and when.

 7          226.    Unlike these other websites that ask for permission to sell data in exchange for

 8   consideration, Google never asked for Plaintiff Russell’s permission and instead impermissibly

 9   intercepted Plaintiff Russell’s communications with Websites, and sells information gleaned from

10   such communications. Google’s practices irreparably damage Plaintiff Russell’s privacy and

11   ability to control Plaintiff Russell’s own personal rights and data.

12          227.    Plaintiff Gleeson is an adult domiciled in CA and has an active Google account and

13   had an active Google account at all relevant times hereto.

14          228.    Plaintiff Gleeson accessed the internet and sent and received communications with

15   Websites on several computing devices that were not shared devices, including using Incognito

16   mode in Chrome to visit non-Google websites without being signed into any Google account.

17          229.    Although Plaintiff Gleeson did not know it at that time, Plaintiff Gleeson is now

18   informed and believes that Google was still tracking Plaintiff Gleeson, via various software and

19   services, without consent or authorization.

20          230.    Google thereby tracked Plaintiff Gleeson and intercepted Plaintiff Gleeson’s

21   communications with Websites without consent or authorization. Many of these requests were

22   URL requests that revealed what Plaintiff Gleeson viewed and when.

23          231.    Unlike these other websites that ask for permission to sell data in exchange for

24   consideration, Google never asked for Plaintiff Gleeson’s permission and instead impermissibly

25   intercepted Plaintiff Gleeson’s communications with Websites, and sells information gleaned from

26   such communications. Google’s practices irreparably damage Plaintiff Gleeson’s privacy and

27   ability to control Plaintiff Gleeson’s own personal rights and data.

28          232.    Plaintiff Monheim is an adult domiciled in CA and has an active Google account



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 1   and had an active Google account at all relevant times hereto.

 2          233.    Plaintiff Monheim accessed the internet and sent and received communications

 3   with Websites on several computing devices that were not shared devices, including using

 4   Incognito mode in Chrome to visit non-Google websites without being signed into any Google

 5   account.

 6          234.    Although Plaintiff Monheim did not know it at that time, Plaintiff Monheim is now

 7   informed and believes that Google was still tracking Plaintiff Monheim, via various software and

 8   services, without consent or authorization.

 9          235.    Google thereby tracked Plaintiff Monheim and intercepted Plaintiff Monheim’s

10   communications with Websites without consent or authorization. Many of these requests were

11   URL requests that revealed what Plaintiff Monheim viewed and when.

12          236.    Unlike these other websites that ask for permission to sell data in exchange for

13   consideration, Google never asked for Plaintiff Monheim’s permission and instead impermissibly

14   intercepted Plaintiff Monheim’s communications with Websites, and sells information gleaned

15   from such communications. Google’s practices irreparably damage Plaintiff Monheim’s privacy

16   and ability to control Plaintiff Monheim’s own personal rights and data.

17          237.    Plaintiff Dill is an adult domiciled in CA and has an active Google account and had

18   an active Google account at all relevant times hereto.

19          238.    Plaintiff Dill accessed the internet and sent and received communications with

20   Websites on several computing devices that were not shared devices, including using Incognito

21   mode in Chrome to visit non-Google websites without being signed into any Google account.

22          239.    Although Plaintiff Dill did not know it at that time, Plaintiff Dill is now informed

23   and believes that Google was still tracking Plaintiff Dill, via various software and services, without

24   consent or authorization.

25          240.    Google thereby tracked Plaintiff Dill and intercepted Plaintiff Dill’s

26   communications with Websites without consent or authorization. Many of these requests were

27   URL requests that revealed what Plaintiff Dill viewed and when.

28          241.    Unlike these other websites that ask for permission to sell data in exchange for



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 1   consideration, Google never asked for Plaintiff Dill’s permission and instead impermissibly

 2   intercepted Plaintiff Dill’s communications with Websites, and sells information gleaned from

 3   such communications. Google’s practices irreparably damage Plaintiff Dill’s privacy and ability

 4   to control Plaintiff Dill’s own personal rights and data.

 5          242.    Plaintiff Shofet is an adult domiciled in CA and has an active Google account and

 6   had an active Google account at all relevant times hereto.

 7          243.    Plaintiff Shofet accessed the internet and sent and received communications with

 8   Websites on several computing devices that were not shared devices, including using Incognito

 9   mode in Chrome to visit non-Google websites without being signed into any Google account.

10          244.    Although Plaintiff Shofet did not know it at that time, Plaintiff Shofet is now

11   informed and believes that Google was still tracking Plaintiff Shofet, via various software and

12   services, without consent or authorization.

13          245.    Google thereby tracked Plaintiff Shofet and intercepted Plaintiff Shofet’s

14   communications with Websites without consent or authorization. Many of these requests were

15   URL requests that revealed what Plaintiff Shofet viewed and when.

16          246.    Unlike these other websites that ask for permission to sell data in exchange for

17   consideration, Google never asked for Plaintiff Shofet’s permission and instead impermissibly

18   intercepted Plaintiff Shofet’s communications with Websites, and sells information gleaned from

19   such communications. Google’s practices irreparably damage Plaintiff Shofet’s privacy and

20   ability to control Plaintiff Shofet’s own personal rights and data.

21          247.    Plaintiff Jordon is an adult domiciled in CA and has an active Google account and

22   had an active Google account at all relevant times hereto.

23          248.    Plaintiff Jordon accessed the internet and sent and received communications with

24   Websites on several computing devices that were not shared devices, including using Incognito

25   mode in Chrome to visit non-Google websites without being signed into any Google account.

26          249.    Although Plaintiff Jordon did not know it at that time, Plaintiff Jordon is now

27   informed and believes that Google was still tracking Plaintiff Jordon, via various software and

28   services, without consent or authorization.



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 1          250.    Google thereby tracked Plaintiff Jordon and intercepted Plaintiff Jordon’s

 2   communications with Websites without consent or authorization. Many of these requests were

 3   URL requests that revealed what Plaintiff Jordon viewed and when.

 4          251.    Unlike these other websites that ask for permission to sell data in exchange for

 5   consideration, Google never asked for Plaintiff Jordon’s permission and instead impermissibly

 6   intercepted Plaintiff Jordon’s communications with Websites, and sells information gleaned from

 7   such communications. Google’s practices irreparably damage Plaintiff Jordon’s privacy and

 8   ability to control Plaintiff Jordon’s own personal rights and data.

 9          252.    Plaintiff Brukner is an adult domiciled in CA and has an active Google account and

10   had an active Google account at all relevant times hereto.

11          253.    Plaintiff Brukner accessed the internet and sent and received communications with

12   Websites on several computing devices that were not shared devices, including using Incognito

13   mode in Chrome to visit non-Google websites without being signed into any Google account.

14          254.    Although Plaintiff Brukner did not know it at that time, Plaintiff Brukner is now

15   informed and believes that Google was still tracking Plaintiff Brukner, via various software and

16   services, without consent or authorization.

17          255.    Google thereby tracked Plaintiff Brukner and intercepted Plaintiff Brukner’s

18   communications with Websites without consent or authorization. Many of these requests were

19   URL requests that revealed what Plaintiff Brukner viewed and when.

20          256.    Unlike these other websites that ask for permission to sell data in exchange for

21   consideration, Google never asked for Plaintiff Brukner’s permission and instead impermissibly

22   intercepted Plaintiff Brukner’s communications with Websites, and sells information gleaned from

23   such communications. Google’s practices irreparably damage Plaintiff Brukner’s privacy and

24   ability to control Plaintiff Brukner’s own personal rights and data.

25          257.    Plaintiff Karvasales is an adult domiciled in CA and has an active Google account

26   and had an active Google account at all relevant times hereto.

27          258.    Plaintiff Karvasales accessed the internet and sent and received communications

28   with Websites on several computing devices that were not shared devices, including using



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 1   Incognito mode in Chrome to visit non-Google websites without being signed into any Google

 2   account.

 3          259.    Although Plaintiff Karvasales did not know it at that time, Plaintiff Karvasales is

 4   now informed and believes that Google was still tracking Plaintiff Karvasales, via various software

 5   and services, without consent or authorization.

 6          260.    Google thereby tracked Plaintiff Karvasales and intercepted Plaintiff Karvasales’s

 7   communications with Websites without consent or authorization. Many of these requests were

 8   URL requests that revealed what Plaintiff Karvasales viewed and when.

 9          261.    Unlike these other websites that ask for permission to sell data in exchange for

10   consideration, Google never asked for Plaintiff Karvasales’s permission and instead impermissibly

11   intercepted Plaintiff Karvasales’s communications with Websites, and sells information gleaned

12   from such communications. Google’s practices irreparably damage Plaintiff Karvasales’s privacy

13   and ability to control Plaintiff Karvasales’s own personal rights and data.

14          262.    Plaintiff Smalt is an adult domiciled in CA and has an active Google account and

15   had an active Google account at all relevant times hereto.

16          263.    Plaintiff Smalt accessed the internet and sent and received communications with

17   Websites on several computing devices that were not shared devices, including using Incognito

18   mode in Chrome to visit non-Google websites without being signed into any Google account.

19          264.    Although Plaintiff Smalt did not know it at that time, Plaintiff Smalt is now

20   informed and believes that Google was still tracking Plaintiff Smalt, via various software and

21   services, without consent or authorization.

22          265.    Google thereby tracked Plaintiff Smalt and intercepted Plaintiff Smalt’s

23   communications with Websites without consent or authorization. Many of these requests were

24   URL requests that revealed what Plaintiff Smalt viewed and when.

25          266.    Unlike these other websites that ask for permission to sell data in exchange for

26   consideration, Google never asked for Plaintiff Smalt’s permission and instead impermissibly

27   intercepted Plaintiff Smalt’s communications with Websites, and sells information gleaned from

28   such communications. Google’s practices irreparably damage Plaintiff Smalt’s privacy and ability



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 1   to control Plaintiff Smalt’s own personal rights and data.

 2          267.    Plaintiff Ely is an adult domiciled in CA and has an active Google account and had

 3   an active Google account at all relevant times hereto.

 4          268.    Plaintiff Ely accessed the internet and sent and received communications with

 5   Websites on several computing devices that were not shared devices, including using Incognito

 6   mode in Chrome to visit non-Google websites without being signed into any Google account.

 7          269.    Although Plaintiff Ely did not know it at that time, Plaintiff Ely is now informed

 8   and believes that Google was still tracking Plaintiff Ely, via various software and services, without

 9   consent or authorization.

10          270.    Google       thereby   tracked   Plaintiff   Ely   and   intercepted   Plaintiff   Ely’s

11   communications with Websites without consent or authorization. Many of these requests were

12   URL requests that revealed what Plaintiff Ely viewed and when.

13          271.    Unlike these other websites that ask for permission to sell data in exchange for

14   consideration, Google never asked for Plaintiff Ely’s permission and instead impermissibly

15   intercepted Plaintiff Ely’s communications with Websites, and sells information gleaned from

16   such communications. Google’s practices irreparably damage Plaintiff Ely’s privacy and ability

17   to control Plaintiff Ely’s own personal rights and data.

18          272.    Plaintiff Dalen is an adult domiciled in CA and has an active Google account and

19   had an active Google account at all relevant times hereto.

20          273.    Plaintiff Dalen accessed the internet and sent and received communications with

21   Websites on several computing devices that were not shared devices, including using Incognito

22   mode in Chrome to visit non-Google websites without being signed into any Google account.

23          274.    Although Plaintiff Dalen did not know it at that time, Plaintiff Dalen is now

24   informed and believes that Google was still tracking Plaintiff Dalen, via various software and

25   services, without consent or authorization.

26          275.    Google thereby tracked Plaintiff Dalen and intercepted Plaintiff Dalen’s

27   communications with Websites without consent or authorization. Many of these requests were

28   URL requests that revealed what Plaintiff Dalen viewed and when.



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 1          276.    Unlike these other websites that ask for permission to sell data in exchange for

 2   consideration, Google never asked for Plaintiff Dalen’s permission and instead impermissibly

 3   intercepted Plaintiff Dalen’s communications with Websites, and sells information gleaned from

 4   such communications. Google’s practices irreparably damage Plaintiff Dalen’s privacy and ability

 5   to control Plaintiff Dalen’s own personal rights and data.

 6          277.    Plaintiff Cornelius is an adult domiciled in CA and has an active Google account

 7   and had an active Google account at all relevant times hereto.

 8          278.    Plaintiff Cornelius accessed the internet and sent and received communications

 9   with Websites on several computing devices that were not shared devices, including using

10   Incognito mode in Chrome to visit non-Google websites without being signed into any Google

11   account.

12          279.    Although Plaintiff Cornelius did not know it at that time, Plaintiff Cornelius is now

13   informed and believes that Google was still tracking Plaintiff Cornelius, via various software and

14   services, without consent or authorization.

15          280.    Google thereby tracked Plaintiff Cornelius and intercepted Plaintiff Cornelius’s

16   communications with Websites without consent or authorization. Many of these requests were

17   URL requests that revealed what Plaintiff Cornelius viewed and when.

18          281.    Unlike these other websites that ask for permission to sell data in exchange for

19   consideration, Google never asked for Plaintiff Cornelius’s permission and instead impermissibly

20   intercepted Plaintiff Cornelius’s communications with Websites, and sells information gleaned

21   from such communications. Google’s practices irreparably damage Plaintiff Cornelius’s privacy

22   and ability to control Plaintiff Cornelius’s own personal rights and data.

23          282.    Plaintiff Botosh is an adult domiciled in CA and has an active Google account and

24   had an active Google account at all relevant times hereto.

25          283.    Plaintiff Botosh accessed the internet and sent and received communications with

26   Websites on several computing devices that were not shared devices, including using Incognito

27   mode in Chrome to visit non-Google websites without being signed into any Google account.

28          284.    Although Plaintiff Botosh did not know it at that time, Plaintiff Botosh is now



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 1   informed and believes that Google was still tracking Plaintiff Botosh, via various software and

 2   services, without consent or authorization.

 3          285.    Google thereby tracked Plaintiff Botosh and intercepted Plaintiff Botosh’s

 4   communications with Websites without consent or authorization. Many of these requests were

 5   URL requests that revealed what Plaintiff Botosh viewed and when.

 6          286.    Unlike these other websites that ask for permission to sell data in exchange for

 7   consideration, Google never asked for Plaintiff Botosh’s permission and instead impermissibly

 8   intercepted Plaintiff Botosh’s communications with Websites, and sells information gleaned from

 9   such communications. Google’s practices irreparably damage Plaintiff Botosh’s privacy and

10   ability to control Plaintiff Botosh’s own personal rights and data.

11          287.    Plaintiff Adams is an adult domiciled in CA and has an active Google account and

12   had an active Google account at all relevant times hereto.

13          288.    Plaintiff Adams accessed the internet and sent and received communications with

14   Websites on several computing devices that were not shared devices, including using Incognito

15   mode in Chrome to visit non-Google websites without being signed into any Google account.

16          289.    Although Plaintiff Adams did not know it at that time, Plaintiff Adams is now

17   informed and believes that Google was still tracking Plaintiff Adams, via various software and

18   services, without consent or authorization.

19          290.    Google thereby tracked Plaintiff Adams and intercepted Plaintiff Adams’s

20   communications with Websites without consent or authorization. Many of these requests were

21   URL requests that revealed what Plaintiff Adams viewed and when.

22          291.    Unlike these other websites that ask for permission to sell data in exchange for

23   consideration, Google never asked for Plaintiff Adams’s permission and instead impermissibly

24   intercepted Plaintiff Adams’s communications with Websites, and sells information gleaned from

25   such communications. Google’s practices irreparably damage Plaintiff Adams’s privacy and

26   ability to control Plaintiff Adams’s own personal rights and data.

27          292.    Plaintiff Ornelas is an adult domiciled in CA and has an active Google account and

28   had an active Google account at all relevant times hereto.



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 1          293.    Plaintiff Ornelas accessed the internet and sent and received communications with

 2   Websites on several computing devices that were not shared devices, including using Incognito

 3   mode in Chrome to visit non-Google websites without being signed into any Google account.

 4          294.    Although Plaintiff Ornelas did not know it at that time, Plaintiff Ornelas is now

 5   informed and believes that Google was still tracking Plaintiff Ornelas, via various software and

 6   services, without consent or authorization.

 7          295.    Google thereby tracked Plaintiff Ornelas and intercepted Plaintiff Ornelas’s

 8   communications with Websites without consent or authorization. Many of these requests were

 9   URL requests that revealed what Plaintiff Ornelas viewed and when.

10          296.    Unlike these other websites that ask for permission to sell data in exchange for

11   consideration, Google never asked for Plaintiff Ornelas’s permission and instead impermissibly

12   intercepted Plaintiff Ornelas’s communications with Websites, and sells information gleaned from

13   such communications. Google’s practices irreparably damage Plaintiff Ornelas’s privacy and

14   ability to control Plaintiff Ornelas’s own personal rights and data.

15          297.    Plaintiff Powell is an adult domiciled in CA and has an active Google account and

16   had an active Google account at all relevant times hereto.

17          298.    Plaintiff Powell accessed the internet and sent and received communications with

18   Websites on several computing devices that were not shared devices, including using Incognito

19   mode in Chrome to visit non-Google websites without being signed into any Google account.

20          299.    Although Plaintiff Powell did not know it at that time, Plaintiff Powell is now

21   informed and believes that Google was still tracking Plaintiff Powell, via various software and

22   services, without consent or authorization.

23          300.    Google thereby tracked Plaintiff Powell and intercepted Plaintiff Powell’s

24   communications with Websites without consent or authorization. Many of these requests were

25   URL requests that revealed what Plaintiff Powell viewed and when.

26          301.    Unlike these other websites that ask for permission to sell data in exchange for

27   consideration, Google never asked for Plaintiff Powell’s permission and instead impermissibly

28   intercepted Plaintiff Powell’s communications with Websites, and sells information gleaned from



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 1   such communications. Google’s practices irreparably damage Plaintiff Powell’s privacy and

 2   ability to control Plaintiff Powell’s own personal rights and data.

 3          302.    Plaintiff Mansoni is an adult domiciled in CA and has an active Google account

 4   and had an active Google account at all relevant times hereto.

 5          303.    Plaintiff Mansoni accessed the internet and sent and received communications with

 6   Websites on several computing devices that were not shared devices, including using Incognito

 7   mode in Chrome to visit non-Google websites without being signed into any Google account.

 8          304.    Although Plaintiff Mansoni did not know it at that time, Plaintiff Mansoni is now

 9   informed and believes that Google was still tracking Plaintiff Mansoni, via various software and

10   services, without consent or authorization.

11          305.    Google thereby tracked Plaintiff Mansoni and intercepted Plaintiff Mansoni’s

12   communications with Websites without consent or authorization. Many of these requests were

13   URL requests that revealed what Plaintiff Mansoni viewed and when.

14          306.    Unlike these other websites that ask for permission to sell data in exchange for

15   consideration, Google never asked for Plaintiff Mansoni’s permission and instead impermissibly

16   intercepted Plaintiff Mansoni’s communications with Websites, and sells information gleaned

17   from such communications. Google’s practices irreparably damage Plaintiff Mansoni’s privacy

18   and ability to control Plaintiff Mansoni’s own personal rights and data.

19          307.    Plaintiff Pierotti is an adult domiciled in CA and has an active Google account and

20   had an active Google account at all relevant times hereto.

21          308.    Plaintiff Pierotti accessed the internet and sent and received communications with

22   Websites on several computing devices that were not shared devices, including using Incognito

23   mode in Chrome to visit non-Google websites without being signed into any Google account.

24          309.    Although Plaintiff Pierotti did not know it at that time, Plaintiff Pierotti is now

25   informed and believes that Google was still tracking Plaintiff Pierotti, via various software and

26   services, without consent or authorization.

27          310.    Google thereby tracked Plaintiff Pierotti and intercepted Plaintiff Pierotti’s

28   communications with Websites without consent or authorization. Many of these requests were



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 1   URL requests that revealed what Plaintiff Pierotti viewed and when.

 2          311.    Unlike these other websites that ask for permission to sell data in exchange for

 3   consideration, Google never asked for Plaintiff Pierotti’s permission and instead impermissibly

 4   intercepted Plaintiff Pierotti’s communications with Websites, and sells information gleaned from

 5   such communications. Google’s practices irreparably damage Plaintiff Pierotti’s privacy and

 6   ability to control Plaintiff Pierotti’s own personal rights and data.

 7          312.    Plaintiff Quinones is an adult domiciled in CA and has an active Google account

 8   and had an active Google account at all relevant times hereto.

 9          313.    Plaintiff Quinones accessed the internet and sent and received communications

10   with Websites on several computing devices that were not shared devices, including using

11   Incognito mode in Chrome to visit non-Google websites without being signed into any Google

12   account.

13          314.    Although Plaintiff Quinones did not know it at that time, Plaintiff Quinones is now

14   informed and believes that Google was still tracking Plaintiff Quinones, via various software and

15   services, without consent or authorization.

16          315.    Google thereby tracked Plaintiff Quinones and intercepted Plaintiff Quinones’s

17   communications with Websites without consent or authorization. Many of these requests were

18   URL requests that revealed what Plaintiff Quinones viewed and when.

19          316.    Unlike these other websites that ask for permission to sell data in exchange for

20   consideration, Google never asked for Plaintiff Quinones’s permission and instead impermissibly

21   intercepted Plaintiff Nagle’s communications with Websites, and sells information gleaned from

22   such communications. Google’s practices irreparably damage Plaintiff Quinones’s privacy and

23   ability to control Plaintiff Quinones’s own personal rights and data.

24          317.    Plaintiff Degraw is an adult domiciled in CA and has an active Google account and

25   had an active Google account at all relevant times hereto.

26          318.    Plaintiff Degraw accessed the internet and sent and received communications with

27   Websites on several computing devices that were not shared devices, including using Incognito

28   mode in Chrome to visit non-Google websites without being signed into any Google account.



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 1          319.    Although Plaintiff Degraw did not know it at that time, Plaintiff Degraw is now

 2   informed and believes that Google was still tracking Plaintiff Degraw, via various software and

 3   services, without consent or authorization.

 4          320.    Google thereby tracked Plaintiff Degraw and intercepted Plaintiff Degraw’s

 5   communications with Websites without consent or authorization. Many of these requests were

 6   URL requests that revealed what Plaintiff Degraw viewed and when.

 7          321.    Unlike these other websites that ask for permission to sell data in exchange for

 8   consideration, Google never asked for Plaintiff Degraw’s permission and instead impermissibly

 9   intercepted Plaintiff Degraw’s communications with Websites, and sells information gleaned from

10   such communications. Google’s practices irreparably damage Plaintiff Degraw’s privacy and

11   ability to control Plaintiff Degraw’s own personal rights and data.

12          322.    Plaintiff Nagle is an adult domiciled in CA and has an active Google account and

13   had an active Google account at all relevant times hereto.

14          323.    Plaintiff Nagle accessed the internet and sent and received communications with

15   Websites on several computing devices that were not shared devices, including using Incognito

16   mode in Chrome to visit non-Google websites without being signed into any Google account.

17          324.    Although Plaintiff Nagle did not know it at that time, Plaintiff Nagle is now

18   informed and believes that Google was still tracking Plaintiff Nagle, via various software and

19   services, without consent or authorization.

20          325.    Google thereby tracked Plaintiff Nagle and intercepted Plaintiff Nagle’s

21   communications with Websites without consent or authorization. Many of these requests were

22   URL requests that revealed what Plaintiff Nagle viewed and when.

23          326.    Unlike these other websites that ask for permission to sell data in exchange for

24   consideration, Google never asked for Plaintiff Nagle’s permission and instead impermissibly

25   intercepted Plaintiff Nagle’s communications with Websites, and sells information gleaned from

26   such communications. Google’s practices irreparably damage Plaintiff Nagle’s privacy and ability

27   to control Plaintiff Nagle’s own personal rights and data.

28          327.    Plaintiff Salgado is an adult domiciled in CA and has an active Google account and



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 1   had an active Google account at all relevant times hereto.

 2          328.    Plaintiff Salgado accessed the internet and sent and received communications with

 3   Websites on several computing devices that were not shared devices, including using Incognito

 4   mode in Chrome to visit non-Google websites without being signed into any Google account.

 5          329.    Although Plaintiff Salgado did not know it at that time, Plaintiff Salgado is now

 6   informed and believes that Google was still tracking Plaintiff Salgado, via various software and

 7   services, without consent or authorization.

 8          330.    Google thereby tracked Plaintiff Salgado and intercepted Plaintiff Salgado’s

 9   communications with Websites without consent or authorization. Many of these requests were

10   URL requests that revealed what Plaintiff Salgado viewed and when.

11          331.    Unlike these other websites that ask for permission to sell data in exchange for

12   consideration, Google never asked for Plaintiff Salgado’s permission and instead impermissibly

13   intercepted Plaintiff Salgado’s communications with Websites, and sells information gleaned from

14   such communications. Google’s practices irreparably damage Plaintiff Salgado’s privacy and

15   ability to control Plaintiff Salgado’s own personal rights and data.

16          332.    Plaintiff Helms is an adult domiciled in CA and has an active Google account and

17   had an active Google account at all relevant times hereto.

18          333.    Plaintiff Helms accessed the internet and sent and received communications with

19   Websites on several computing devices that were not shared devices, including using Incognito

20   mode in Chrome to visit non-Google websites without being signed into any Google account.

21          334.    Although Plaintiff Helms did not know it at that time, Plaintiff Helms is now

22   informed and believes that Google was still tracking Plaintiff Helms, via various software and

23   services, without consent or authorization.

24          335.    Google thereby tracked Plaintiff Helms and intercepted Plaintiff Helms’s

25   communications with Websites without consent or authorization. Many of these requests were

26   URL requests that revealed what Plaintiff Helms viewed and when.

27          336.    Unlike these other websites that ask for permission to sell data in exchange for

28   consideration, Google never asked for Plaintiff Helms’s permission and instead impermissibly



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 1   intercepted Plaintiff Helms’s communications with Websites, and sells information gleaned from

 2   such communications. Google’s practices irreparably damage Plaintiff Helms’s privacy and

 3   ability to control Plaintiff Helms’s own personal rights and data.

 4          337.    Plaintiff Dugger is an adult domiciled in CA and has an active Google account and

 5   had an active Google account at all relevant times hereto.

 6          338.    Plaintiff Dugger accessed the internet and sent and received communications with

 7   Websites on several computing devices that were not shared devices, including using Incognito

 8   mode in Chrome to visit non-Google websites without being signed into any Google account.

 9          339.    Although Plaintiff Dugger did not know it at that time, Plaintiff Dugger is now

10   informed and believes that Google was still tracking Plaintiff Dugger, via various software and

11   services, without consent or authorization.

12          340.    Google thereby tracked Plaintiff Dugger and intercepted Plaintiff Dugger’s

13   communications with Websites without consent or authorization. Many of these requests were

14   URL requests that revealed what Plaintiff Dugger viewed and when.

15          341.    Unlike these other websites that ask for permission to sell data in exchange for

16   consideration, Google never asked for Plaintiff Dugger’s permission and instead impermissibly

17   intercepted Plaintiff Dugger’s communications with Websites, and sells information gleaned from

18   such communications. Google’s practices irreparably damage Plaintiff Dugger privacy and ability

19   to control Plaintiff Dugger’s own personal rights and data.

20          342.    Plaintiff Masri is an adult domiciled in CA and has an active Google account and

21   had an active Google account at all relevant times hereto.

22          343.    Plaintiff Masri accessed the internet and sent and received communications with

23   Websites on several computing devices that were not shared devices, including using Incognito

24   mode in Chrome to visit non-Google websites without being signed into any Google account.

25          344.    Although Plaintiff Masri did not know it at that time, Plaintiff Masri is now

26   informed and believes that Google was still tracking Plaintiff Masri, via various software and

27   services, without consent or authorization.

28          345.    Google thereby tracked Plaintiff Masri and intercepted Plaintiff Masri’s



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 1   communications with Websites without consent or authorization. Many of these requests were

 2   URL requests that revealed what Plaintiff Masri viewed and when.

 3          346.    Unlike these other websites that ask for permission to sell data in exchange for

 4   consideration, Google never asked for Plaintiff Masri’s permission and instead impermissibly

 5   intercepted Plaintiff Masri’s communications with Websites, and sells information gleaned from

 6   such communications. Google’s practices irreparably damage Plaintiff Masri’s privacy and ability

 7   to control Plaintiff Masri’s own personal rights and data.

 8          347.    Plaintiff Corona is an adult domiciled in CA and has an active Google account and

 9   had an active Google account at all relevant times hereto.

10          348.    Plaintiff Corona accessed the internet and sent and received communications with

11   Websites on several computing devices that were not shared devices, including using Incognito

12   mode in Chrome to visit non-Google websites without being signed into any Google account.

13          349.    Although Plaintiff Corona did not know it at that time, Plaintiff Corona is now

14   informed and believes that Google was still tracking Plaintiff Corona, via various software and

15   services, without consent or authorization.

16          350.    Google thereby tracked Plaintiff Corona and intercepted Plaintiff Corona’s

17   communications with Websites without consent or authorization. Many of these requests were

18   URL requests that revealed what Plaintiff Corona viewed and when.

19          351.    Unlike these other websites that ask for permission to sell data in exchange for

20   consideration, Google never asked for Plaintiff Corona’s permission and instead impermissibly

21   intercepted Plaintiff Corona’s communications with Websites, and sells information gleaned from

22   such communications. Google’s practices irreparably damage Plaintiff Corona’s privacy and

23   ability to control Plaintiff Corona’s own personal rights and data.

24          352.    Plaintiff Cardamone is an adult domiciled in CA and has an active Google account

25   and had an active Google account at all relevant times hereto.

26          353.    Plaintiff Cardamone accessed the internet and sent and received communications

27   with Websites on several computing devices that were not shared devices, including using

28   Incognito mode in Chrome to visit non-Google websites without being signed into any Google



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 1   account.

 2          354.    Although Plaintiff Cardamone did not know it at that time, Plaintiff Cardamone is

 3   now informed and believes that Google was still tracking Plaintiff Cardamone, via various

 4   software and services, without consent or authorization.

 5          355.    Google thereby tracked Plaintiff Cardamone and intercepted Plaintiff Cardamone’s

 6   communications with Websites without consent or authorization. Many of these requests were

 7   URL requests that revealed what Plaintiff Cardamone viewed and when.

 8          356.    Unlike these other websites that ask for permission to sell data in exchange for

 9   consideration, Google never asked for Plaintiff Cardamone’s permission and instead

10   impermissibly intercepted Plaintiff Cardamone’s communications with Websites, and sells

11   information gleaned from such communications. Google’s practices irreparably damage Plaintiff

12   Cardamone’s privacy and ability to control Plaintiff Cardamone’s own personal rights and data.

13          357.    Plaintiff Anderson is an adult domiciled in CA and has an active Google account

14   and had an active Google account at all relevant times hereto.

15          358.    Plaintiff Anderson accessed the internet and sent and received communications

16   with Websites on several computing devices that were not shared devices, including using

17   Incognito mode in Chrome to visit non-Google websites without being signed into any Google

18   account.

19          359.    Although Plaintiff Anderson did not know it at that time, Plaintiff Anderson is now

20   informed and believes that Google was still tracking Plaintiff Anderson, via various software and

21   services, without consent or authorization.

22          360.    Google thereby tracked Plaintiff Anderson and intercepted Plaintiff Anderson’s

23   communications with Websites without consent or authorization. Many of these requests were

24   URL requests that revealed what Plaintiff Anderson viewed and when.

25          361.    Unlike these other websites that ask for permission to sell data in exchange for

26   consideration, Google never asked for Plaintiff Anderson’s permission and instead impermissibly

27   intercepted Plaintiff Anderson’s communications with Websites, and sells information gleaned

28   from such communications. Google’s practices irreparably damage Plaintiff Anderson’s privacy



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 1   and ability to control Plaintiff Anderson’s own personal rights and data.

 2          362.    Plaintiff Zanders is an adult domiciled in CA and has an active Google account and

 3   had an active Google account at all relevant times hereto.

 4          363.    Plaintiff Zanders accessed the internet and sent and received communications with

 5   Websites on several computing devices that were not shared devices, including using Incognito

 6   mode in Chrome to visit non-Google websites without being signed into any Google account.

 7          364.    Although Plaintiff Zanders did not know it at that time, Plaintiff Zanders is now

 8   informed and believes that Google was still tracking Plaintiff Zanders, via various software and

 9   services, without consent or authorization.

10          365.    Google thereby tracked Plaintiff Zanders and intercepted Plaintiff Zanders’s

11   communications with Websites without consent or authorization. Many of these requests were

12   URL requests that revealed what Plaintiff Zanders viewed and when.

13          366.    Unlike these other websites that ask for permission to sell data in exchange for

14   consideration, Google never asked for Plaintiff Zanders’s permission and instead impermissibly

15   intercepted Plaintiff Zanders’s communications with Websites, and sells information gleaned from

16   such communications. Google’s practices irreparably damage Plaintiff Zanders’s privacy and

17   ability to control Plaintiff Zanders’s own personal rights and data.

18          367.    Plaintiff Apothaker is an adult domiciled in CA and has an active Google account

19   and had an active Google account at all relevant times hereto.

20          368.    Plaintiff Apothaker accessed the internet and sent and received communications

21   with Websites on several computing devices that were not shared devices, including using

22   Incognito mode in Chrome to visit non-Google websites without being signed into any Google

23   account.

24          369.    Although Plaintiff Apothaker did not know it at that time, Plaintiff Apothaker is

25   now informed and believes that Google was still tracking Plaintiff Apothaker, via various software

26   and services, without consent or authorization.

27          370.    Google thereby tracked Plaintiff Apothaker and intercepted Plaintiff Apothaker’s

28   communications with Websites without consent or authorization. Many of these requests were



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 1   URL requests that revealed what Plaintiff Apothaker viewed and when.

 2          371.    Unlike these other websites that ask for permission to sell data in exchange for

 3   consideration, Google never asked for Plaintiff Apothaker’s permission and instead impermissibly

 4   intercepted Plaintiff Apothaker’s communications with Websites, and sells information gleaned

 5   from such communications. Google’s practices irreparably damage Plaintiff Apothaker’s privacy

 6   and ability to control Plaintiff Apothaker’s own personal rights and data.

 7          372.    Plaintiff Elliott is an adult domiciled in CA and has an active Google account and

 8   had an active Google account at all relevant times hereto.

 9          373.    Plaintiff Elliott accessed the internet and sent and received communications with

10   Websites on several computing devices that were not shared devices, including using Incognito

11   mode in Chrome to visit non-Google websites without being signed into any Google account.

12          374.    Although Plaintiff Elliott did not know it at that time, Plaintiff Elliott is now

13   informed and believes that Google was still tracking Plaintiff Elliott, via various software and

14   services, without consent or authorization.

15          375.    Google thereby tracked Plaintiff Elliott and intercepted Plaintiff Elliott’s

16   communications with Websites without consent or authorization. Many of these requests were

17   URL requests that revealed what Plaintiff Elliott viewed and when.

18          376.    Unlike these other websites that ask for permission to sell data in exchange for

19   consideration, Google never asked for Plaintiff Elliott’s permission and instead impermissibly

20   intercepted Plaintiff Elliott’s communications with Websites, and sells information gleaned from

21   such communications. Google’s practices irreparably damage Plaintiff Elliott’s privacy and ability

22   to control Plaintiff Elliott’s own personal rights and data.

23          377.    Plaintiff Steinberg is an adult domiciled in CA and has an active Google account

24   and had an active Google account at all relevant times hereto.

25          378.    Plaintiff Steinberg accessed the internet and sent and received communications

26   with Websites on several computing devices that were not shared devices, including using

27   Incognito mode in Chrome to visit non-Google websites without being signed into any Google

28   account.



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 1          379.    Although Plaintiff Steinberg did not know it at that time, Plaintiff Steinberg is now

 2   informed and believes that Google was still tracking Plaintiff Steinberg, via various software and

 3   services, without consent or authorization.

 4          380.    Google thereby tracked Plaintiff Steinberg and intercepted Plaintiff Steinberg’s

 5   communications with Websites without consent or authorization. Many of these requests were

 6   URL requests that revealed what Plaintiff Steinberg viewed and when.

 7          381.    Unlike these other websites that ask for permission to sell data in exchange for

 8   consideration, Google never asked for Plaintiff Steinberg’s permission and instead impermissibly

 9   intercepted Plaintiff Steinberg’s communications with Websites, and sells information gleaned

10   from such communications. Google’s practices irreparably damage Plaintiff Steinberg’s privacy

11   and ability to control Plaintiff Steinberg’s own personal rights and data.

12          382.    Plaintiff Nunez is an adult domiciled in CA and has an active Google account and

13   had an active Google account at all relevant times hereto.

14          383.    Plaintiff Nunez accessed the internet and sent and received communications with

15   Websites on several computing devices that were not shared devices, including using Incognito

16   mode in Chrome to visit non-Google websites without being signed into any Google account.

17          384.    Although Plaintiff Nunez did not know it at that time, Plaintiff Nunez is now

18   informed and believes that Google was still tracking Plaintiff Nunez, via various software and

19   services, without consent or authorization.

20          385.    Google thereby tracked Plaintiff Nunez and intercepted Plaintiff Nunez’s

21   communications with Websites without consent or authorization. Many of these requests were

22   URL requests that revealed what Plaintiff Nunez viewed and when.

23          386.    Unlike these other websites that ask for permission to sell data in exchange for

24   consideration, Google never asked for Plaintiff Nunez’s permission and instead impermissibly

25   intercepted Plaintiff Nunez’s communications with Websites, and sells information gleaned from

26   such communications. Google’s practices irreparably damage Plaintiff Nunez’s privacy and

27   ability to control Plaintiff Nunez’s own personal rights and data.

28          387.    Plaintiff Basche is an adult domiciled in CA and has an active Google account and



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 1   had an active Google account at all relevant times hereto.

 2          388.    Plaintiff Basche accessed the internet and sent and received communications with

 3   Websites on several computing devices that were not shared devices, including using Incognito

 4   mode in Chrome to visit non-Google websites without being signed into any Google account.

 5          389.    Although Plaintiff Basche did not know it at that time, Plaintiff Basche is now

 6   informed and believes that Google was still tracking Plaintiff Basche, via various software and

 7   services, without consent or authorization.

 8          390.    Google thereby tracked Plaintiff Basche and intercepted Plaintiff Basche’s

 9   communications with Websites without consent or authorization. Many of these requests were

10   URL requests that revealed what Plaintiff Basche viewed and when.

11          391.    Unlike these other websites that ask for permission to sell data in exchange for

12   consideration, Google never asked for Plaintiff Basche’s permission and instead impermissibly

13   intercepted Plaintiff Basche’s communications with Websites, and sells information gleaned from

14   such communications. Google’s practices irreparably damage Plaintiff Basche’s privacy and

15   ability to control Plaintiff Basche’s own personal rights and data.

16          392.    Plaintiff Cardona is an adult domiciled in CA and has an active Google account and

17   had an active Google account at all relevant times hereto.

18          393.    Plaintiff Cardona accessed the internet and sent and received communications with

19   Websites on several computing devices that were not shared devices, including using Incognito

20   mode in Chrome to visit non-Google websites without being signed into any Google account.

21          394.    Although Plaintiff Cardona did not know it at that time, Plaintiff Cardona is now

22   informed and believes that Google was still tracking Plaintiff Cardona, via various software and

23   services, without consent or authorization.

24          395.    Google thereby tracked Plaintiff Cardona and intercepted Plaintiff Cardona’s

25   communications with Websites without consent or authorization. Many of these requests were

26   URL requests that revealed what Plaintiff Cardona viewed and when.

27          396.    Unlike these other websites that ask for permission to sell data in exchange for

28   consideration, Google never asked for Plaintiff Cardona’s permission and instead impermissibly



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 1   intercepted Plaintiff Cardona’s communications with Websites, and sells information gleaned

 2   from such communications. Google’s practices irreparably damage Plaintiff Cardona’s privacy

 3   and ability to control Plaintiff Cardona’s own personal rights and data.

 4          397.    Plaintiff Herrera is an adult domiciled in CA and has an active Google account and

 5   had an active Google account at all relevant times hereto.

 6          398.    Plaintiff Herrera accessed the internet and sent and received communications with

 7   Websites on several computing devices that were not shared devices, including using Incognito

 8   mode in Chrome to visit non-Google websites without being signed into any Google account.

 9          399.    Although Plaintiff Herrera did not know it at that time, Plaintiff Herrera is now

10   informed and believes that Google was still tracking Plaintiff Herrera, via various software and

11   services, without consent or authorization.

12          400.    Google thereby tracked Plaintiff Herrera and intercepted Plaintiff Herrera’s

13   communications with Websites without consent or authorization. Many of these requests were

14   URL requests that revealed what Plaintiff Herrera viewed and when.

15          401.    Unlike these other websites that ask for permission to sell data in exchange for

16   consideration, Google never asked for Plaintiff Herrera’s permission and instead impermissibly

17   intercepted Plaintiff Herrera’s communications with Websites, and sells information gleaned from

18   such communications. Google’s practices irreparably damage Plaintiff Herrera’s privacy and

19   ability to control Plaintiff Herrera’s own personal rights and data.

20          402.    Plaintiff Cuellar is an adult domiciled in CA and has an active Google account and

21   had an active Google account at all relevant times hereto.

22          403.    Plaintiff Cuellar accessed the internet and sent and received communications with

23   Websites on several computing devices that were not shared devices, including using Incognito

24   mode in Chrome to visit non-Google websites without being signed into any Google account.

25          404.    Although Plaintiff Cuellar did not know it at that time, Plaintiff Cuellar is now

26   informed and believes that Google was still tracking Plaintiff Cuellar, via various software and

27   services, without consent or authorization.

28          405.    Google thereby tracked Plaintiff Cuellar and intercepted Plaintiff Cuellar’s



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 1   communications with Websites without consent or authorization. Many of these requests were

 2   URL requests that revealed what Plaintiff Cuellar viewed and when.

 3          406.    Unlike these other websites that ask for permission to sell data in exchange for

 4   consideration, Google never asked for Plaintiff Cuellar’s permission and instead impermissibly

 5   intercepted Plaintiff Cuellar’s communications with Websites, and sells information gleaned from

 6   such communications. Google’s practices irreparably damage Plaintiff Cuellar’s privacy and

 7   ability to control Plaintiff Cuellar’s own personal rights and data.

 8          407.    Plaintiff Valdez is an adult domiciled in CA and has an active Google account and

 9   had an active Google account at all relevant times hereto.

10          408.    Plaintiff Valdez accessed the internet and sent and received communications with

11   Websites on several computing devices that were not shared devices, including using Incognito

12   mode in Chrome to visit non-Google websites without being signed into any Google account.

13          409.    Although Plaintiff Valdez did not know it at that time, Plaintiff Valdez is now

14   informed and believes that Google was still tracking Plaintiff Valdez, via various software and

15   services, without consent or authorization.

16          410.    Google thereby tracked Plaintiff Valdez and intercepted Plaintiff Valdez’s

17   communications with Websites without consent or authorization. Many of these requests were

18   URL requests that revealed what Plaintiff Valdez viewed and when.

19          411.    Unlike these other websites that ask for permission to sell data in exchange for

20   consideration, Google never asked for Plaintiff Valdez’s permission and instead impermissibly

21   intercepted Plaintiff Valdez’s communications with Websites, and sells information gleaned from

22   such communications. Google’s practices irreparably damage Plaintiff Valdez’s privacy and

23   ability to control Plaintiff Valdez’s own personal rights and data.

24          412.    Plaintiff Rodriguez is an adult domiciled in CA and has an active Google account

25   and had an active Google account at all relevant times hereto.

26          413.    Plaintiff Rodriguez accessed the internet and sent and received communications

27   with Websites on several computing devices that were not shared devices, including using

28   Incognito mode in Chrome to visit non-Google websites without being signed into any Google



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 1   account.

 2          414.    Although Plaintiff Rodriguez did not know it at that time, Plaintiff Rodriguez is

 3   now informed and believes that Google was still tracking Plaintiff Rodriguez, via various software

 4   and services, without consent or authorization.

 5          415.    Google thereby tracked Plaintiff Rodriguez and intercepted Plaintiff Rodriguez’s

 6   communications with Websites without consent or authorization. Many of these requests were

 7   URL requests that revealed what Plaintiff Rodriguez viewed and when.

 8          416.    Unlike these other websites that ask for permission to sell data in exchange for

 9   consideration, Google never asked for Plaintiff Rodriguez’s permission and instead impermissibly

10   intercepted Plaintiff Rodriguez’s communications with Websites, and sells information gleaned

11   from such communications. Google’s practices irreparably damage Plaintiff Rodriguez’s privacy

12   and ability to control Plaintiff Rodriguez’s own personal rights and data.

13          417.    Plaintiff Chrayah is an adult domiciled in CA and has an active Google account and

14   had an active Google account at all relevant times hereto.

15          418.    Plaintiff Chrayah accessed the internet and sent and received communications with

16   Websites on several computing devices that were not shared devices, including using Incognito

17   mode in Chrome to visit non-Google websites without being signed into any Google account.

18          419.    Although Plaintiff Chrayah did not know it at that time, Plaintiff Chrayah is now

19   informed and believes that Google was still tracking Plaintiff Chrayah, via various software and

20   services, without consent or authorization.

21          420.    Google thereby tracked Plaintiff Chrayah and intercepted Plaintiff Chrayah’s

22   communications with Websites without consent or authorization. Many of these requests were

23   URL requests that revealed what Plaintiff Chrayah viewed and when.

24          421.    Unlike these other websites that ask for permission to sell data in exchange for

25   consideration, Google never asked for Plaintiff Chrayah’s permission and instead impermissibly

26   intercepted Plaintiff Chrayah’s communications with Websites, and sells information gleaned

27   from such communications. Google’s practices irreparably damage Plaintiff Chrayah’s privacy

28   and ability to control Plaintiff Chrayah’s own personal rights and data.



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 1          422.    Plaintiff Byrd is an adult domiciled in CA and has an active Google account and

 2   had an active Google account at all relevant times hereto.

 3          423.    Plaintiff Byrd accessed the internet and sent and received communications with

 4   Websites on several computing devices that were not shared devices, including using Incognito

 5   mode in Chrome to visit non-Google websites without being signed into any Google account.

 6          424.    Although Plaintiff Byrd did not know it at that time, Plaintiff Byrd is now informed

 7   and believes that Google was still tracking Plaintiff Byrd, via various software and services,

 8   without consent or authorization.

 9          425.    Google thereby tracked Plaintiff Byrd and intercepted Plaintiff Byrd’s

10   communications with Websites without consent or authorization. Many of these requests were

11   URL requests that revealed what Plaintiff Byrd viewed and when.

12          426.    Unlike these other websites that ask for permission to sell data in exchange for

13   consideration, Google never asked for Plaintiff Byrd’s permission and instead impermissibly

14   intercepted Plaintiff Byrd’s communications with Websites, and sells information gleaned from

15   such communications. Google’s practices irreparably damage Plaintiff Byrd’s privacy and ability

16   to control Plaintiff Byrd’s own personal rights and data.

17          427.    Plaintiff Starzinski is an adult domiciled in CA and has an active Google account

18   and had an active Google account at all relevant times hereto.

19          428.    Plaintiff Starzinski accessed the internet and sent and received communications

20   with Websites on several computing devices that were not shared devices, including using

21   Incognito mode in Chrome to visit non-Google websites without being signed into any Google

22   account.

23          429.    Although Plaintiff Starzinski did not know it at that time, Plaintiff Starzinski is now

24   informed and believes that Google was still tracking Plaintiff Starzinski, via various software and

25   services, without consent or authorization.

26          430.    Google thereby tracked Plaintiff Starzinski and intercepted Plaintiff Starzinski’s

27   communications with Websites without consent or authorization. Many of these requests were

28   URL requests that revealed what Plaintiff Starzinski viewed and when.



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 1          431.    Unlike these other websites that ask for permission to sell data in exchange for

 2   consideration, Google never asked for Plaintiff Starzinski’s permission and instead impermissibly

 3   intercepted Plaintiff Starzinski’s communications with Websites, and sells information gleaned

 4   from such communications. Google’s practices irreparably damage Plaintiff Starzinski’s privacy

 5   and ability to control Plaintiff Starzinski’s own personal rights and data.

 6          432.    Plaintiff Bith is an adult domiciled in CA and has an active Google account and had

 7   an active Google account at all relevant times hereto.

 8          433.    Plaintiff Bith accessed the internet and sent and received communications with

 9   Websites on several computing devices that were not shared devices, including using Incognito

10   mode in Chrome to visit non-Google websites without being signed into any Google account.

11          434.    Although Plaintiff Bith did not know it at that time, Plaintiff Bith is now informed

12   and believes that Google was still tracking Plaintiff Bith, via various software and services, without

13   consent or authorization.

14          435.    Google thereby tracked Plaintiff Bith and intercepted Plaintiff Bith’s

15   communications with Websites without consent or authorization. Many of these requests were

16   URL requests that revealed what Plaintiff Bith viewed and when.

17          436.    Unlike these other websites that ask for permission to sell data in exchange for

18   consideration, Google never asked for Plaintiff Bith’s permission and instead impermissibly

19   intercepted Plaintiff Bith’s communications with Websites, and sells information gleaned from

20   such communications. Google’s practices irreparably damage Plaintiff Bith’s privacy and ability

21   to control Plaintiff Bith’s own personal rights and data.

22          437.    Plaintiff Obasa is an adult domiciled in CA and has an active Google account and

23   had an active Google account at all relevant times hereto.

24          438.    Plaintiff Obasa accessed the internet and sent and received communications with

25   Websites on several computing devices that were not shared devices, including using Incognito

26   mode in Chrome to visit non-Google websites without being signed into any Google account.

27          439.    Although Plaintiff Obasa did not know it at that time, Plaintiff Obasa is now

28   informed and believes that Google was still tracking Plaintiff Obasa, via various software and



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 1   services, without consent or authorization.

 2           440.    Google thereby tracked Plaintiff Obasa and intercepted Plaintiff Obasa’s

 3   communications with Websites without consent or authorization. Many of these requests were

 4   URL requests that revealed what Plaintiff Obasa viewed and when.

 5           441.    Unlike these other websites that ask for permission to sell data in exchange for

 6   consideration, Google never asked for Plaintiff Obasa’s permission and instead impermissibly

 7   intercepted Plaintiff Obasa’s communications with Websites, and sells information gleaned from

 8   such communications. Google’s practices irreparably damage Plaintiff Obasa’s privacy and ability

 9   to control Plaintiff Obasa’s own personal rights and data.

10           442.    None of these Plaintiffs consented to or authorized Google’s tracking and

11   interception of their confidential communications made while browsing in Incognito mode.

12                  CALIFORNIA LAW APPLIES TO ALL PLAINTIFFS’ CLAIMS
13           443.    California’s substantive laws apply to every Plaintiff, regardless of where in the

14   United States they reside. Google’s Terms of Service explicitly states “California law will govern all

15   disputes arising out of or relating to these terms, service specific additional terms, or any related

16   services, regardless of conflict of laws rules.” By choosing California law for the resolution of

17   disputes covered by its Terms of Service, Google concedes that it is appropriate for this Court to apply

18   California law to the instant dispute to all Plaintiffs. Google conceded California law applies to these

19   causes of action in the Brown litigation. Plaintiffs are further informed and on that basis allege that

20   Google has consistently forced users of every State to apply California law in their disputes,

21   especially when California law inures to Google’s favor.

22           444.    Further, California’s substantive laws may be constitutionally applied to the claims of

23   Plaintiffs under the Due Process Clause, see U.S. CONST. amend. XIV, § 1, and the Full Faith and

24   Credit Clause, see U.S. CONST. art. IV, § 1, of the U.S. Constitution. California has significant

25   contact, or significant aggregation of contacts, to the claims asserted by the Plaintiffs, thereby creating

26   state interests that ensure that the choice of California state law is not arbitrary or unfair. Google’s

27   decision to reside in California and avail itself of California’s laws, and to engage in the challenged

28   conduct from and emanating out of California, renders the application of California law to the claims



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 1   herein constitutionally permissible. The application of California laws to all Plaintiffs is also

 2   appropriate under California’s choice of law rules because California has significant contacts to the

 3   claims of Plaintiffs and California has the greatest interest in applying its laws here.

 4                                                  COUNTS
 5     COUNT ONE: VIOLATION OF THE CALIFORNIA INVASION OF PRIVACY ACT
                (“CIPA”), CALIFORNIA PENAL CODE §§ 631 AND 632
 6
             445.    Plaintiffs hereby incorporate Paragraphs 1 through 444 as if fully stated herein.
 7
             446.    The California Invasion of Privacy Act (“CIPA”) is codified at Cal. Penal Code §§
 8
     630 to 638. The Act begins with its statement of purpose:
 9
                     The Legislature hereby declares that advances in science and
10                   technology have led to the development of new devices and
11                   techniques for the purpose of eavesdropping upon private
                     communications and that the invasion of privacy resulting from the
12                   continual and increasing use of such devices and techniques has
                     created a serious threat to the free exercise of personal liberties and
13                   cannot be tolerated in a free and civilized society.
14
     Cal. Penal Code § 630.
15           447.    California Penal Code § 631(a) provides, in pertinent part:
16
                     Any person who, by means of any machine, instrument, or
17                   contrivance, or in any other manner . . . willfully and without the
                     consent of all parties to the communication, or in any unauthorized
18                   manner, reads, or attempts to read, or to learn the contents or meaning
                     of any message, report, or communication while the same is in transit
19
                     or passing over any wire, line, or cable, or is being sent from, or
20                   received at any place within this state; or who uses, or attempts to
                     use, in any manner, or for any purpose, or to communicate in any
21                   way, any information so obtained, or who aids, agrees with, employs,
                     or conspires with any person or persons to lawfully do, or permit, or
22                   cause to be done any of the acts or things mentioned above in this
23                   section, is punishable by a fine not exceeding two thousand five
                     hundred dollars . . . .
24           448.    California Penal Code § 632(a) provides, in pertinent part:
25
                     A person who, intentionally and without the consent of all parties to a
26                   confidential communication, uses an electronic amplifying or
                     recording device to eavesdrop upon or record the confidential
27                   communication, whether the communication is carried on among the
28                   parties in the presence of one another or by means of a telegraph,



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                     telephone, or other device, except a radio, shall be punished by a fine
 1                   not exceeding two thousand five hundred dollars . . . .
 2
             449.    Under either section of the CIPA, a defendant must show it had the consent of all
 3
     parties to a communication.
 4
             450.    Google has its principal place of business in California; designed, contrived and
 5
     effectuated its scheme to track its users (including Plaintiffs) while they were browsing the internet
 6
     from a browser while in Incognito mode; and has adopted California substantive law to govern its
 7
     relationship with its users.
 8
             451.    To date, Google still “uses, or attempts to use, in any manner, or for any purpose…
 9
     [the] information [Google] so obtained,” including by using information from Plaintiffs’ private
10
     browsing communications Google surreptitiously intercepted for Google’s services and product
11
     development, such as for artificial intelligence, machine learning, and advertisement algorithms.
12
     Google also continues to “read[], or attempt[] to read, to learn the content” of Plaintiffs’ private
13
     browsing communications whenever it accesses such stored data.
14
             452.    At all relevant times, Google’s actual and attempted tracking and interceptions of
15
     Plaintiffs’ internet communications while using a browser in Incognito mode was without
16
     authorization and without consent from the Plaintiffs or Websites. The interception by Google in
17
     the aforementioned circumstances were unlawful and tortious.
18
             453.    Google’s non-consensual actual and attempted tracking and interceptions of
19
     Plaintiffs’ internet communications who were on their web browser or using a browser in Incognito
20
     mode was designed to attempt to learn at least some meaning of the content in the URLs.
21
             454.    The following items constitute “machine[s], instrument[s], or contrivance[s]”
22
     under the CIPA, and even if they do not, Google’s deliberate and admittedly purposeful scheme
23
     that facilitated its interceptions falls under the broad statutory catch-all category of “any other
24
     manner”:
25
                     a.      The computer codes and programs Google used to track Plaintiffs’
26
                             communications while they were in Incognito mode;
27
                     b.      Plaintiffs’ browsers and mobile applications;
28



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 1                   c.      Plaintiffs’ computers and mobile devices;

 2                   d.      Google’s servers;

 3                   e.      The web and ad-servers of websites from which Google tracked and

 4                           intercepted the Plaintiffs’ communications while they were using a web

 5                           browser in Incognito mode;

 6                   f.      The computer codes and programs used by Google to effectuate its

 7                           tracking and interception of Plaintiffs’ communications while using the

 8                           Chrome browser in Incognito mode; and

 9                   g.      The plan Google carried out to effectuate its tracking and interception of

10                           the Plaintiffs’ communications while using the Chrome browser in

11                           Incognito mode.

12           455.    The data collected by Google constituted “confidential communications,” as that

13   term is used in Section 632, because Plaintiffs had objectively reasonable expectations of privacy

14   while browsing in Incognito mode.

15           456.    Plaintiffs have suffered loss by reason of these violations, including, but not limited

16   to, violation of their rights to privacy and loss of value in their personally-identifiable information.

17           457.    Pursuant to California Penal Code § 637.2, Plaintiffs have been injured by the

18   violations of California Penal Code §§ 631 and 632, and each seek damages for the greater of

19   $5,000 per violation or three times the amount of actual damages.

20       COUNT TWO: VIOLATIONS OF THE COMPREHENSIVE COMPUTER DATA
          ACCESS AND FRAUD ACT (“CDAFA”), CAL. PENAL CODE § 502 ET SEQ.
21
             458.    Plaintiffs hereby incorporate Paragraphs 1 through 444 as if fully stated herein.
22
             459.    Cal. Penal Code § 502 provides: “For purposes of bringing a civil or a criminal
23
     action under this section, a person who causes, by any means, the access of a computer, computer
24
     system, or computer network in one jurisdiction from another jurisdiction is deemed to have
25
     personally accessed the computer, computer system, or computer network in each jurisdiction.”
26
     Smart phone devices with the capability of using web browsers are “computers” within the
27
     meaning of the statute.
28



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 1           460.       Google violated Cal. Penal Code § 502(c)(2) by knowingly accessing and without

 2   permission taking, copying, analyzing, and using Plaintiffs’ data.

 3           461.       Despite Google’s false representations to the contrary, Google effectively charged

 4   Plaintiffs, and Google was unjustly enriched, by acquiring their sensitive and valuable personal

 5   information without permission and using it for Google’s own financial benefit to advance its

 6   advertising business. Plaintiffs retain a stake in the profits Google earned from their personal

 7   browsing histories and other data because, under the circumstances, it is unjust for Google to retain

 8   those profits.

 9           462.       Google accessed, copied, took, analyzed, and used data from Plaintiffs’ computers

10   in and from the State of California, where Google: (1) has its principal place of business; and (2)

11   used servers that provided communication links between Plaintiffs’ computers and Google, which

12   allowed Google to access and obtain Plaintiffs’ data. Accordingly, Google caused the access of

13   Plaintiffs’ computers from California, and is therefore deemed to have accessed Plaintiffs’

14   computers in California.

15           463.       As a direct and proximate result of Google’s unlawful conduct within the meaning

16   of Cal. Penal Code § 502, Google has caused loss to Plaintiffs and has been unjustly enriched in

17   an amount to be proven at trial.

18           464.       Plaintiffs seek compensatory damages and/or disgorgement in an amount to be

19   proven at trial.

20           465.       Plaintiffs are entitled to punitive or exemplary damages pursuant to Cal. Penal Code

21   § 502(e)(4) because Google’s violations were willful and, upon information and belief, Google is

22   guilty of oppression, fraud, or malice as defined in Cal. Civil Code § 3294.

23           466.       Plaintiffs are also entitled to recover their reasonable attorneys’ fees pursuant to

24   Cal. Penal Code § 502(e).

25                               COUNT THREE: INVASION OF PRIVACY
26           467.       Plaintiffs hereby incorporate Paragraphs 1 through 444 as if fully stated herein.

27           468.       The right to privacy in California’s constitution creates a right of action against

28   private entities such as Google.



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 1          469.       Plaintiffs’ expectation of privacy is deeply enshrined in California’s Constitution.

 2   Article I, section 1 of the California Constitution provides: “All people are by nature free and

 3   independent and have inalienable rights. Among these are enjoying and defending life and liberty,

 4   acquiring, possessing, and protecting property and pursuing and obtaining safety, happiness, and

 5   privacy.” The phrase “and privacy” was added by the “Privacy Initiative” adopted by California

 6   voters in 1972.

 7          470.       The phrase “and privacy” was added in 1972 after voters approved a proposed

 8   legislative constitutional amendment designated as Proposition 11. Critically, the argument in

 9   favor of Proposition 11 reveals that the legislative intent was to curb businesses’ control over the

10   unauthorized collection and use of consumers’ personal information, stating:

11                     The right of privacy is the right to be left alone…It prevents
                       government and business interests from collecting and stockpiling
12                     unnecessary information about us and from misusing information
13                     gathered for one purpose in order to serve other purposes or to
                       embarrass us. Fundamental to our privacy is the ability to control
14                     circulation of personal information. This is essential to social
                       relationships and personal freedom.54
15

16          471.       The principal purpose of this constitutional right was to protect against unnecessary

17   information gathering, use, and dissemination by public and private entities, including Google.

18          472.       The principal purpose of this constitutional right was to protect against unnecessary

19   information gathering, use, and dissemination by public and private entities, including Google.

20          473.       To plead a California constitutional privacy claim, a plaintiff must show an invasion

21   of (1) a legally protected privacy interest; (2) where the plaintiff had a reasonable expectation of

22   privacy in the circumstances; and (3) conduct by the defendant constituting a serious invasion of

23   privacy.

24          474.       As described herein, Google has intruded upon the following legally protected

25   privacy interests:

26                     a.     CIPA as alleged herein;

27
     54
28    BALLOT PAMP., PROPOSED STATS. & AMENDS. TO CAL. CONST. WITH ARGUMENTS TO VOTERS,
     GEN. ELECTION *26 (Nov. 7, 1972).


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 1                  b.     A Fourth Amendment right to privacy contained on personal computing

 2                         devices, including web-browsing history, as explained by the United States

 3                         Supreme Court in the unanimous decision of Riley v. California;

 4                  c.     The California Constitution, which guarantees Californians the right to

 5                         privacy;

 6                  d.     Google’s Privacy Policy and policies referenced therein and other public

 7                         promises it made not to track or intercept the Plaintiffs’ communications or

 8                         access their computing devices and web-browsers while browsing in

 9                         Incognito mode.

10          475.    Plaintiffs had a reasonable expectation of privacy under the circumstances in that

11   Plaintiffs could not reasonably expect Google would commit acts in violation of civil and criminal

12   laws; and Google affirmatively promised users (including Plaintiffs) it would not track their

13   communications or access their computing devices or web-browsers while they were using a web

14   browser while in Incognito mode.

15          476.    Google’s actions constituted a serious invasion of privacy in that it:

16                  a.     Invaded a zone of privacy protected by the Fourth Amendment, namely the

17                         right to privacy in data contained on personal computing devices, including

18                         web search and browsing histories;

19                  b.     Violated several criminal laws on interception and invasion of privacy,

20                         including CIPA and the CDAFA;

21                  c.     Invaded the privacy rights of millions of Americans (including Plaintiffs)

22                         without their consent;

23                  d.     Constituted the unauthorized taking of valuable information from millions

24                         of Americans (including Plaintiffs) through deceit; and

25                  e.     Further violated Plaintiffs’ reasonable expectation of privacy via Google’s

26                         review, analysis, and subsequent uses of Plaintiffs’ private and other

27                         browsing activity that Plaintiffs considered sensitive and confidential.

28          477.    Committing criminal acts against millions of Americans (including Plaintiffs)



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 1   constitutes an egregious breach of social norms that is highly offensive.

 2          478.    The surreptitious and unauthorized tracking of the internet communications of

 3   millions of Americans (including Plaintiffs), particularly where, as here, they have taken active

 4   (and recommended) measures to ensure their privacy, constitutes an egregious breach of social

 5   norms that is highly offensive.

 6          479.    Google’s intentional intrusion into Plaintiffs’ internet communications and their

 7   computing devices and web-browsers was highly offensive to a reasonable person in that Google

 8   violated criminal and civil laws designed to protect individual privacy and against theft.

 9          480.    The taking of personally-identifiable information from millions of Americans

10   (including Plaintiffs) through deceit is highly offensive behavior.

11          481.    Secret monitoring of web private browsing is highly offensive behavior.

12          482.    Following Google’s unauthorized interception of the sensitive and valuable

13   personal information, the subsequent analysis and use of that private browsing activity to target

14   advertising to Plaintiffs violated their reasonable expectations of privacy.

15          483.    Intercepting and surreptitious recording of communications is highly offensive

16   behavior.

17          484.    Google lacked a legitimate business interest in tracking users while they

18   browsed the internet in Incognito mode without their consent. Plaintiffs have been damaged

19   by Google’s invasion of their privacy and are entitled to just compensation.

20                         COUNT FOUR: INTRUSION UPON SECLUSION
21          485.    Plaintiffs hereby incorporate Paragraphs 1 through 444 as if fully stated herein.

22          486.    Plaintiffs asserting claims for intrusion upon seclusion must plead (1) intrusion into

23   a private place, conversation, or matter; (2) in a manner highly offensive to a reasonable person.

24          487.    In carrying out its scheme to track and intercept Plaintiffs’ communications while

25   they were using a browser while in Incognito mode in violation of its own privacy promises,

26   Google intentionally intruded upon the Plaintiffs’ solitude or seclusion in that it effectively placed

27   itself in the middle of conversations to which it was not an authorized party.

28          488.    Google’s tracking and interception were not authorized by the Plaintiffs, the



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 1   Websites with which they were communicating, or even the Plaintiffs’ web-browsers.

 2          489.    Google’s intentional intrusion into their internet communications and their

 3   computing devices and web-browsers was highly offensive to a reasonable person in that they

 4   violated criminal and civil laws designed to protect individual privacy and against theft.

 5          490.    The taking of personally-identifiable information from millions of Americans

 6   (including Plaintiffs) through deceit is highly offensive behavior, particularly where, as here,

 7   Plaintiffs took active (and recommended) measures to ensure their privacy.

 8          491.    Secret monitoring of web private browsing is highly offensive behavior.

 9          492.    Interception and surreptitious recording of communications is highly offensive

10   behavior.

11          493.    Public polling on internet tracking has consistently revealed that the overwhelming

12   majority of Americans believe it is important or very important to be “in control of who can get

13   information” about them; to not be tracked without their consent; and to be in “control[] of what

14   information is collected about [them].” The desire to control one’s information is only heightened

15   while a person is browsing the internet in “private browsing mode.”

16          494.    Plaintiffs have been damaged by Google’s invasion of their privacy and are

17   entitled to reasonable compensation including but not limited to disgorgement of profits related to

18   the unlawful internet tracking.

19                            COUNT FIVE: BREACH OF CONTRACT
20          495.    Plaintiffs hereby incorporate Paragraphs 1 through 444 as if fully stated herein.

21          496.    Google’s relationship with its users is governed by the Google Terms of Service,

22   the Google Chrome and Chrome OS Additional Terms of Service, and the Chrome Privacy

23   Notice, which incorporate and/or should be construed consistent with the Privacy Policy, the

24   “Search & Browse Privately” page, and the Incognito Screen.

25          497.    The Chrome Privacy Notice promises Plaintiffs that Google does not collect or

26   use private browsing communications, including by explaining that “[y]ou can limit the

27   information Chrome stores on your system by using incognito mode” and that, within Incognito

28   mode, “Chrome won’t store certain information, such as: Basic browsing history information



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 1   like URLs, cached paged text, or IP addresses of pages linked from the websites you visit [and]

 2   Snapshots of pages that you visit.”

 3          498.      Google breached these promises.

 4          499.      The Privacy Policy, the Incognito Screen, and the “Search & Browse Privately”

 5   page similarly promise that users can control Google’s collection and use of their browsing data,

 6   including by enabling a private browsing mode such as Incognito mode, and that Google would

 7   not collect and use private browsing data.

 8          500.      Google breached these promises.

 9          501.      Plaintiffs fulfilled their obligations under the relevant contracts and are not in

10   breach of any.

11          502.      As a result of Google’s breach(es), Google was able to obtain the personal

12   property of Plaintiffs and earn unjust profits.

13          503.      Plaintiffs also did not receive the benefit of the bargain for which they contracted

14   and for which they paid valuable consideration in the form of the personal information they

15   agreed to share, which has ascertainable value to be proven at trial.

16          504.      Plaintiffs seek compensatory damages, consequential damages, and/or non-

17   restitutionary disgorgement in an amount to be proven at trial and any other appropriate relief.

18     COUNT SIX: CALIFORNIA UNFAIR COMPETITION LAW (“UCL”), CAL. BUS. &
                           PROF. CODE § 17200 ET SEQ.
19
            505.      Plaintiffs hereby incorporate Paragraphs 1 through 444 as if fully stated herein.
20
            506.      The UCL prohibits any “unlawful, unfair, or fraudulent business act or practice and
21
     unfair, deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code § 17200 (UCL). By
22
     engaging in the practices aforementioned, Google has violated the UCL.
23
            507.      Google’s “unlawful” acts and practices include its violation of the statutes
24
     identified above California Invasion of Privacy Act, Cal. Penal Code §§ 631 and 632; the
25
     California Computer Data Access and Fraud Act, Cal. Penal Code § 502, et seq.; Invasion of
26
     Privacy; Intrusion Upon Seclusion; Breach of Contract; and California Business & Professions
27
     Code § 22576.
28



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 1          508.    Google’s conduct violated the spirit and letter of these laws, which protect property,

 2   economic and privacy interests and prohibit unauthorized disclosure and collection of private

 3   communications and personal information.

 4          509.    Google’s “unfair” acts and practices include its violation of property, economic and

 5   privacy interests protected by the statutes identified above. To establish liability under the unfair

 6   prong, Plaintiffs need not establish that these statutes were actually violated, although the claims

 7   pleaded herein do so.

 8          510.    Plaintiffs have suffered injury-in-fact, including the loss of money and/or property

 9   as a result of Google’s unfair and/or unlawful practices, to wit, the unauthorized disclosure and

10   taking of their personal information which has value as demonstrated by its use and sale by Google.

11   Plaintiffs have suffered harm in the form of diminution of the value of their private and personally

12   identifiable data and content.

13          511.    Google’s actions caused damage to and loss of Plaintiffs’ property right to control

14   the dissemination and use of their personal information and communications.

15          512.    Google reaped unjust profits and revenues in violation of the UCL. This includes

16   Google’s profits and revenues from their targeted-advertising and improvements of Google’s other

17   products. Plaintiffs seek restitution and disgorgement of these unjust profits and revenues.

18                             COUNT SEVEN: UNJUST ENRICHMENT
19          513.    Plaintiffs hereby incorporate Paragraphs 1 through 444 as if fully stated herein.

20          514.    Plaintiffs conferred upon Google an economic benefit, in the nature of revenues,

21   earnings, and profits, compensation and benefits resulting from Google’s unfair and/or unlawful

22   practices described in Paragraphs 1 through 444.

23          515.    Google’s financial benefits resulting from its unlawful and inequitable conduct are

24   economically traceable to these unfair and/or unlawful practices.

25          516.    That economic benefit is a direct and proximate result of Google’s unfair and/or

26   unlawful practices.

27          517.    This conduct was wrongful, knowing, and conscious.

28          518.    It would be inequitable and unjust for Google to be permitted to retain any of the



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 1   unlawful proceeds resulting from its unfair and/or unlawful conduct.

 2          519.    As alleged in this Complaint, Google has been unjustly enriched as a result of its

 3   wrongful conduct.

 4          520.    Plaintiffs are accordingly entitled to equitable relief including restitution and/or

 5   non-restitutionary disgorgement of all revenues, earnings, profits, compensation, and benefits

 6   which may have been obtained by Google as a result of its unfair and/or unlawful practices, in

 7   whole or in part, including through the establishment of a constructive trust.

 8          521.    Plaintiffs lack an adequate remedy at law with respect to this claim.

 9                                        PRAYER FOR RELIEF

10          WHEREFORE, Plaintiffs respectfully request that this Court:

11          A.      For all Counts, award damages to Plaintiffs in an amount to be proven at trial,

12   including interest thereon;

13          B.      For Count I, award statutory damages;

14          C.      Non-restitutionary disgorgement of all of Defendant’s profits that were derived, in

15   whole or in part, including through the establishment of a constructive trust, from Google’s

16   interception and subsequent use of Plaintiffs’ communications, including under Counts I, II, III,

17   IV, V, and VII;

18          D.      For Counts I, II, III, and IV, award punitive damages;

19          E.      Ordering Defendant to disgorge all revenues and profits wrongfully obtained,

20   including to be held in a constructive trust;

21          F.      Award nominal damages to Plaintiffs against Defendant;

22          G.      Award Plaintiffs their reasonable costs and expenses incurred in this action,

23   including attorneys’ fees and expert fees; and

24          H.      Grant Plaintiffs such further relief as the Court deems appropriate.

25                                       JURY TRIAL DEMAND

26          The Plaintiffs demand a trial by jury of all issues so triable.

27

28   Dated: March 28, 2024                  BOIES SCHILLER FLEXNER LLP



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